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                   Exhibit 184
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                                                    Prisoner Sala   Statement
 Prisoner no. 1 1708
 Prisoner Name: Nasim Rashed Abd el-Wudud Za'tari    Document no. 040981870
 Month Year Beneficiary                             lD no    Bank Name          Branch   Account no     Salarv




                                                    Reda:ted




                                                               Page 'i of 8

Confidential                                                                                  Shatsky-JD00333-T
                      Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 3 of 96




                                                   Prisoner      Statement
Prisoner no. 1 1708
Prisoner Name: Nasim Rashed Abd el-Wudud Za'tari    Docurnent no" 040981 870
Month Year Beneficiary                             lD no     Bank Name         Branch   Account no.     Salarv




                                                   Redacted




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Confidential                                                                                  Shatsky-JD00334-T
                       Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 4 of 96




                                                    Prisoner Sala   Statement
 Prisoner no. 1 1708
 Prisoner Name- Nasim Rashed Abd el-Wudud Za'tari    Document no 040,q81870
         Year Beneficiary                           lD nc     Bank Naine        Branch   Account no     Salarv




                                                    Redacted




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Confidential                                                                                  Shatsky-JD00335-T
                      Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 5 of 96




                                                   Prisoner      Statement
Prisoner no. 1 1708
Prisoner Name: Nasim Rashed Abd el-Wudud Za'tari    Document no. 040981870
Month Year Beneficiary                             lD no     Bank Name       Branch   Account no.     Salary




                                                   Redacted




                                                              Page 4 of B

Confidential                                                                                Shatsky-JD00336-T
                       Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 6 of 96




                                                    Prisoner      Statement
 Prisoner no. 1 1708
 Prisoner Name: Nasim Rashed Abd el-Wudud Za'tari    Document no 040981870
 Month Year Beneficiary                             lD no.   Bank Nane        Branch   Account no     Salary




                                                    Redacted




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Confidential                                                                                Shatsky-JD00337-T
                      Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 7 of 96




                                                   Prisoner Sala   Statement
Prisoner no. 1 1708
Prisoner Name: Nasim Rashed Abd el-Wudud Za'tari    Document no. 040981870
Month Year Beneficiarv                             lD no     Bank Name         Branch   Account no"     Salarv




                                                   Redacted




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                       Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 8 of 96




                                                     Prisoner Sa      Statement
 Prisoner no. 1 1708
 Prisoner Name. Nasim Rashed Abd el-V/udud Za'tari     Docunrent no. 04098 1 870
 Month Year Beneficiary                              lD no        Bank Name        Eranch   Account no.    Sa ary




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4        2020 Kifa Tai A-Din Za'tari                       3061                                            1,500.00
4        2020 Naiwa Rashed Abd el-Wudud Hilwan             4571                                            5.985.00
5        2020 Kifa Tai A-Din Za'tari                       3061                                            1.500"00
5        2A2A Naiwa Rashed Abd el-Wudud Hilwan             4571                                            5.985.00
6        2020 Kifa Tai A-Din Za'tari                       3061                                            1,500.00

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Confidential                                                                                     Shatsky-JD00339-T
                         Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 9 of 96




                                                Prisoner Sala     Statement
Prisoner no. 11708
Prisoner Name: Nasim Rashed Abd el-Wudud Za'tari       Document no. 040981870
Month Year                                           lD no.      Bank Name      Branch   Account no,   Salarv
6               Na    Rashed Abd el-Wudud Hilwan          4571                                         (JD
7               Kifa T A-Din Za'tari                      3061                                         1.500_00
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B              Kifa T                                     3061                                         500.00
8                       Rashed AM el-Wudud Hilwan         4571                                         5.985.00
I              Kifa Tai A-Din Za'tari               1Rffi63061                                         1,500.00
I                    Rashed AM el-Wudud Hi                4571                                         5.985.00
10                    A-Din Zatari                            1                                        1.500.00
10                   Rashed Abd       d Hilwan            4571                                         5.985.00
11             Kifa T A-Din Za'tari                       3061                                         1.500.00
11                                         Hilwan         4571                                         5_985.00
12             Kifa T A-Din Za'tari                       3061                                         1.500.00
12                   Rashed Abd el-Wudud Hilwan           4571                                         6.385.00
 1             Kifa T A-Din                               3061                                         1.500.00
 1                   Rashed AM el-Wudud Hilwan            4571                                         5 985.00
2                                                         3061                                         1.500.00
2                     Rashed Abd el-Wudud Hilwan          4571                                         5.985.00
3                   Ta A-Din Za'tari                      3061                                         1,500.00
3                     Rashed Abd el-           n          4571                                         5.985"00
4              Kifa    A-Din Zatari                       3061                                         1,500.00
4                            Abd el-Wudud Hilwan          4571                                         5.985.00
5              Kifa Ta A-Din Za'tari                      3061                                         1 500.00
5              Naiwa Rashed Abd el-Wudud Hilwan           4571                                         5.985,00

                                                             Page 8 of 8




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Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 10 of 96




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     Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 17 of 96




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      Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 18 of 96




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Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 19 of 96




                   Exhibit 185
        Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 20 of 96

CONFIDENTIAL                                                                                                              SHATSKY-JD01813-T

                                                                        18019

    IEnglish] Palestinian National Authority                        [Emblem of the                     [Arabic] Palestinian National Authority
    Ministry of Detainees & Ex-detainees Affairs                 Palestinian Authorityl           Ministry of Detainees & Ex-detainees Affairs
    Gen. Dep. Detainees & Ex-detainees                                                                      Gen. Dep. Detainees & Ex-detainees

                                           New                                                                          Military clerk
                                                               Main Prisoner Form                                               Roundstamp:PA
                                                                                                                                                     /
                                         p.2s6371                                                                                                & tx-



                                                                                                                                                           l
                                                                                                                                DeP. Detainees
    Form no.                                                                                                                         detainees /
                                                                                                                                                 Gen'
    Form issuance date:         12/22/207s                    Ministry's administration/branch:                                  02.08'2015 /
                                                                                                               Nablus                           Affairs'
                                                                                                                                DeP. of Legal

                                                                                                                                       Checked'
1. Basic information concerning the prisoner:
                                                                                                                                      lndictments'
    lD no. (9 dicits)
    Four-part                 First name             -T      Father's name
                                                                                              1
                                                                                             Grandfather's
                                                                                                                7               0
                                                                                                                               Family name
                                                                                                                                                    0

    name:
                        Samir                       Zuheir
                                                                -T                        lbrahim
                                                                                                 name
                                                                                                                        Kusa
    Mother's                                                                              Gender:                       tr Male         n Female
    name:
    DoB:                7982                                                             Place of birth:     Nablus
    Education:          tr llliterate      E Elementary          tr High school       tr Diploma      tr University            tr Higher education
    Profession          National security forces serviceman                               Organization:             Unknown
    prior to arrest:
    Arrest date:        L0/3/207s                                                         Place of arrest:          Meeiddo
    Arrest status:      ! Detained            !                ! Administrative                          I Free                     D Other
                                            Sentenced
    ln case of life     Dav             Month Year             Expected release date                     DaY            Month       Year
    sentence                                                   according to verdict:
    according to
    rcRc
    Certificate
    Permanent           Governorate           Nablus           Residential complex:                      Redacted
    re9iq9!!9i-
    Notes:


2. lnformation concerning previous arrests:            Only those attested to by lcRc certificates, in chronological order from newest to oldest,

        No.   Arrest date       Arrest type         Release date                  Arrest period                                Notes
                                              -.
                                                                        Dav          Month        Year
    L                                                                                                                                Audit
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CONFIDENTIAL                                                                                                              SHATSKY- JDO1813-T
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 21 of 96




                           CONFIDENTIAL                                                                     SHATSKYJDOlSlT-T


                                             lsrael                   Defense                      Forces
                    in the Military Court                                                     Court File         75/3216
                                                                  This indictment was
                    SAMARIA                                       filed in the Military       Prosecution File: 2253/ t5
                                                                  Court
                    Before a Panel                                On 19 November              Police   File:     3593/15
                                                                  20't5
                                                                  Recorded in the                                3202/ts
                                                                  court docket in
                                                                  File No. 3218115            (Terrorist Activities Petah Tikva)
                                                                  Signature: Noy
                    ln the case between:

                                                            The Militarv Prosecutor

                                                                                                            - The Plaintiff -


 Iround stamp in Arabicl                                                  _vs-
 PLO
 Detainees & Ex-Detainees
 Depanment                                                 Samir Zuheir lbrahim Kusa
 8 February 2016
 General Directorate for Legal                       (Detained since 3 October 2015)
 Affairs
 checked
                                                           R"dutt"d                R"du"t"d
 lndictments                                     lD No.               1700, born              1982, resident of Nablus

                                                                                                         - The Defendant -


                                                                  lndictment
                    The abovenamed Defendant is herebv indicted for committine the followins offenses:

                    First Count:

                    Nature of the Offense:Membership and activity in an unlawful association, an offense
                                          pursuant to Regulations 84 and 85(1Xa) of the Defense Regulations

                                          (Emergency), 1945.


                    Details of the Offense:The abovenamed Defendant, within the Region, was or acted
                                          as a member of an organization that is an unlawful association;
                                          specifically: Starting at or around four months before his arrest, in or

                                          near Nablus, the Defendant was a member of the Hamas organization
                                          (hereafter, "Hamas"), which constitutes an unlawful organization. ln

                                          his capacity as a member of the said organization, the Defendant
                                          acted as described in the following counts of indictment and as
                                          detailed here:
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                           A. Roughly a year and a half before his arrest, or thereabouts, the
                           Defendant acceded to a request from Ragheb to take military action
                           against lsraeli targets on behalf of the Hamas organization.


                           B. During or around the month of January 2015, the Defendant
                               approached Karam Lutfi Fathi Rizq (hereafter, "Karam") and
                               proposed that they take military action together on behalf of the

                               Hamas organization, in the form of perpetrating terror attacks

                               against lsraeli targets and with the purpose of bringing death to

                              the Jewish residents. Later, in or around March 2015, the
                              Defendant again approached him and repeated his proposal that

                              they together take military action against lsraeli targets, Karam
                              responded in the affirmative to the proposal.


            CONFIDENTIAL                                                       SHATSKY-J D01817.7
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                            CONFIDENTIAL                                                       SHATSKY{D01818-T



                                           A. Four months prior to his arrest, or thereabouts, at the grocery
                                              store owned by Ragheb Ahmad Mohamed Aliwiya (hereafter,
                                              "Amjad") of a military cell operating on behalf of Hamas that had
                                              undertaken to perpetrate shooting attacks against lsraeli targets
                                              (hereafter, "the Military Cell"), Ragheb approached the Defendant

Iround stamp in Arabic]                       and recruited him for activity in the Military Cell, concurrently
PLO
Detainees & Ex-Detainees                      detailing the Military Cell's objectives to the Defendant.
Department
8 February 2016
General Directorate for Legal
                                           B. Subsequently, Ragheb requested the Defendant's help in locating
Affairs
                                              a handgun for the military operation. The Defendant assented to
Checked
Indictments
                                              the request and then approached Mousa Hashash (hereafter,
                                              "Mousa") for assistance from him in locating such a handgun'
                                               Mousa assented to the request and offered to purchase a handgun

                                               at a price of approximately r0t18,000. The Defendant approached
                                               Ragheb and set forth the details of the purchase transaction for

                                               him. Then Ragheb approached Amjad requesting that he fund the

                                               handgun, and Amjad entrusted him with the requested sum. ln the

                                               end, with the Defendant as intermediary, Ragheb purchased an FN

                                               handgun imprinted with the number C06845 (hereafter, "the
                                               Handgun") and a magazine containing compatible bullets.

                                           C. At or around the start of August, at or near the grocery, the
                                               Defendant met Ragheb and the latter introduced him to Yahia
                                               Muhamad Naif Abdullah Hajj Hamad (hereafter, "Yahia"). At that
                                               meeting, Ragheb explained to the other two that from now on
                                               they would be working together in the framework of the Military
                                               Cell. ln addition, the three agreed that the time had come to take

                                               military action in light of the happenings of that time at the Al
                                               Aqsa Mosque and in response to the death of the
                                               abovementioned members of the Dawabsheh family. Accordingly,

                                               the three agreed that Yahia and the Defendant would meet later
                                               that day, in the evening, and travel together to the vicinity of Beit
                                               Furiq Junction or somewhere nearby in order to perpetrate a
                                               shooting terror attack against the vehicles of Jewish residents, the

                                               intent being to bring death to the latter. They also agreed that
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                         they would perpetrate that terror attack by means of an M16 rifle
                         which was imprinted with the number K7O0326 (hereafter, "the
                         Weapon") and a magazine containing compatible bullets
                         (hereafter, "the Ammunition"), which were in Ragheb's
                         possession. Also for the purpose of perpetrating that shooting

                         terror attack, Ragheb asked the Defendant and Yahia to collect
                         intelligence regarding the movement of Jewish residents' vehicles

                         and the presence of security forces on the road near Beit Furiq

                         and Beit Dajan. The Defendant and Yahia did as they were asked.


                         The Defendant's membership in Hamas and in the Militarv Cell
                         continued until the date of his arrest.




          CONFIDENTIAL                                             SHATSKY-JD01818-T
  Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 25 of 96




                          CONFIDENTIAL                                                    SHATSKYJDO181g.T


                          Second Count:

                          Nature ofthe Offense: Attempted intentional causation of death, an offense pursuant

                                  to Sections 209(a) and 198 of the Security Provisions Order [Consolidated
                                  Versionl (Judea and Samaria) (No. 1651), 5770-2009'

                           Detailsof theOffense: The abovenamed Defendant, within the Region, attempted to
                                  intentionally bring death to a person; specifically:

                                          A. As early as that same day, and further to the content of subsection
                                              (e) in the previous count of indictment, the Defendant and Yahia,

                                              according to prior agreement as stated, each separately surveilled

                                              the traffic near Beit Furiq and Beit Dajan. Later, they updated
                                               Ragheb on their findings regarding the absence of security forces

                                              along the abovementioned route.

                                          B. Afterward, when the three had agreed on a strategic place for
                                               perpetrating the terror attack, Yahia headed toward the grocery or

                                               a nearby spot and received the Weapon and Ammunition from
                                               Ragheb.

                                          C. Afterward, Yahia and the Defendant met as agreed, the former
                                               with the Weapon and Ammunition in his possession. Then, Yahia
                                               and the Defendant positioned themselves in the latter's vehicle, a

                                               Fiat Uno bearing Palestinian license plate number 4-1480-90
Iround stamp in Arabic]                        (hereinafter, "the Fiat") so as to make Yahia the driver while the
PLO
Detainees & Ex-Detainees
                                               Defendant sat in the back seat with the Weapon in his possession.
Departm ent
8 February 2016
                                               The two began traveling toward Beit Furiq Junction, and when they
General Directorate for Legal
Affairs
Checked
                                               reached their destination, they discerned a vehicle bearing lsraeli
Indictments
                                               license plates that was heading from inside the community of Elon

                                               Moreh community toward the community of ltamar. Upon that,
                                               the Defendant leant his upper body out from the car and fired a
                                               number of bullets toward the lsraeli vehicle from a distance of
                                               approximately sixty meters. lmmediately afterward, the two fled
                                               the scene.

                                           D. One day after perpetrating the shooting attack, or thereabouts, the
                                               Defendant and Yahia updated Ragheb regarding the perpetration
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                             of the abovementioned shooting terror attack at Beit Furiq
                             Junction and the attack's results.

                             Throueh their abovementioned actions. the Defendant and his
                             confederates attemoted to cause the death of another oerson.

          Third Count:

          Nature ofthe offense: Attempted intentional causation of death, an offense pursuant

                         to Sections 209(a) and 198 of the Security provisions Order
                         [Consolidated Version] (Judea and Samaria) (No. 1651), S77O-ZOO9.

          Detailsof theoffense: The abovenamed Defendant, within the Region, attempted to
                         intentionally bring death to a person; specifically:

                         A. On or around 30 August 2015, as the Defendant was meeting with
                             Ragheb and Yahia at the grocery in Nablus, the three spoke about

                             the failure of the shooting terror attack described above and
                             discussed the possibility of perpetrating another shooting terror

                             attack for the purpose of bringing death to a Jewish resident.
                             Further to that idea, the Defendant suggested that the shooting

                             terror attack be perpetrated during the night hours in the area of
                            Jit Junction where many Jewish residents drive along that road.
                             Ragheb, however, proposed that the shooting terror attack be
                             perpetrated as early as midday on that same day. The Defendant

                             and Yahia assented to the proposal.

                         B. An hour later or thereabouts, the Defendant traveled in the Fiat, as
                            agreed in advance, to the area of Bayt Wazan or to a place outside

                            the scope of the known evidence. When the Defendant reached his
                            destination, he met Yahia, who entered the Fiat and positioned
                            himself in the back seat with the Weapon and Ammunition in his
                            possession. Then the two began to travel toward Jit Junction as

                            planned.

         CONFIDENTIAL                                                       SHATSKYJDO1819.T
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                     CONFIDENTIAL                                                      SHATSKY.JDOl82O-T


                                     C. A short time afterward, when the two reached a dirt road, the
                                         Defendant stopped the Fiat at the side of the road and replaced
lround stamp in Arabic]
PLO                                      the Palestinian license plates with lsraeli license plates. Afterward,
Detainees & Ex-Detainees
Department                               the two continued on their way to Jit Junction. Later, when the
8 February 2016
General Directorate for Letal            Defendant and Yahia reached their destination and located no
Affairs
Checked                                  lsraeli vehicles there, the two continued traveling in the direction
lndictments
                                         of the community of Einav in their attempt while still searching for

                                         lsraeli vehicles. Then, when the two discerned a Hyundai bearing

                                         lsraeli license plate number 70-808-78 (hereafter, "the lsraeli
                                         Vehicle"), heading in their direction and driven at that moment by
                                         Ronen Edri, the two u-turned and began pursuing the lsraeli
                                         Vehicle. Later, at or near Jit Junction, having caught up with the

                                         lsraeli Vehicle, Yahia and the Defendant stopped their vehicle to

                                         the left of the abovementioned vehicle. At the same moment,
                                         Yahia began firing tens of bullets toward the lsraeli Vehicle from a

                                         distance of approximately six meters. lmmediately after
                                         perpetrating the shooting terror attack, the Defendant and Yahia

                                         fled the place. As a result, the bullets penetrated the left side of
                                         the lsraeli Vehicle and shattered its front left window. ln
                                         consequence of that, Ronen Edri the driver was injured by the

                                         shards of glass.


                                         Throueh their abovementioned actions, the Defendant and his
                                         confederates attempted to cause the death of another person.

                     Fourth Count:

                     Nature ofthe Offense: Conspiracy to intentionally cause death, an offense pursuant to

                                     Sections 209(a) and 254a of the Security Provisions Order
                                     lConsolidated Versionl (Judea and Samaria) (No. 1651), 5770-2009.

                     Detailsof theOffense: The abovenamed Defendant, within the Region, conspired to
                                     cause the death of a person; specifically:

                                     A. On or around 23 September 20L5, on the night that ends the Day
                                         of Atonement, the Defendant met with Yahia at the grocery in
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                                Nablus, or at a place nearby, and agreed with him that they would

                                go out at nighttime to perpetrate an additionai shooting attack in

                                the area of Beit Furiq Junction.

                           B.   Then Yahia approached Ragheb and updated him on their plans to

                                perpetrate another shooting terror attack. On that occasion, Yahia

                                asked Ragheb to give him the Weapon for the purpose of
                                perpetrating the said terror attack. Ragheb assented and gave the

                                Weapon and Ammunition to Yahia. Subsequently, Yahia and the

                                Defendant travelled in a Skoda Octavia taxi, bearing Palestinian
                                license plate number 7-2876-30 and owned by the latter
                                (hereafter, "the Skoda") toward Beit Furiq Junction in order to

                                examine the route where they would be perpetrating the shooting

                                terror attack.
                           c.   Then, when the Defendant and Yahia reached the surroundings of

                                the Beit Furiq roadblock, the two discerned the presence of
                                security forces who were conducting a security check at the
                                roadblock at that time. Therefore, and in light of the active
                                presence of security forces in the intended area, the two

                                relinquished their plan of perpetrating a shooting attack at the said

                                destination.

                           D.   Finally, the Defendant and Yahia returned the way they came, with

                                the latter still in possession of the Weapon.
            CONFIDENTIAL                                                        SHATSKY{DO182O-T
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                                CONFIDENTIAL                                                         SHATSKY-J D01821-T


                           Fifth Count:

                           Nature of the Offense: lntentional causation of death, an offense pursuant to Sections

                                               209(a) and 199c (a and b) of the Security Provisions Order
                                               lConsolidated Versionl (Judea and Samaria) (No. 1651), 5770-2009.

                            Detailsof theOffense: The abovenamed Defendant, within the Region, conspired to
                                               intentionally cause the death of a person; specifically:

                                               A. During September 2015 or thereabouts, Ragheb and Yahia agreed
                                                   on a shooting terror attack to be perpetrated by the Military Cell,
                                                   during which - besides the central objective guiding the Military
                                                   Cell; in other words, besides bringing death to Jewish residents -

                                                   the cell would attempt to kidnap a Jewish resident (hereafter, "the
                                                   Kidnapping Attack"),

                                               B. Subsequently, having agreed with the Defendant regarding the
                                                   perpetration of the Kidnapping Attack, Ragheb approached Amjad
Iround stamp in Arabicl                            and asked that Amjad give the abovementioned terror attack his
PLO
Detainees & Ex-Detainees                           approval and assistance. Amjad responded that he would first
Department
8 February 2016                                    consult his superiors and then let Ragheb know. Shortly thereafter,
General Directorate for Legal
Affairs                                            Amjad authorized Ragheb to perpetrate the Kidnapping Attack and
Checked
lndictments                                        promised to help by transporting him and by hiding the kidnap
                                                   victim                          as                          requested.

                                                   ln addition, the two agreed that         if the Kidnapping Attack
                                                   succeeded, Ragheb would dial the cellular phone in Amjad's
                                                   possession, wait for the duration of a single ring, hang up

                                                   immediately thereafter, repeat the action, and thus achieve the
                                                   effect of informing Amjad that they had succeeded in kidnapping a
                                                   Jewish resident and that Amjad should go to the meeting point

                                                   near Alraouda College and take the kidnap victim into his custody.

                                               C. On or around 28 September 2015, at or near the grocery in Nablus,
                                                   the Defendant met with Ragheb and Yahia, and the three of them
                                                   spoke of perpetrating the Kidnapping Attack on 1 October 2015

                                                   near Beit Furiq. ln addition, Yahia agreed with Ragheb that if the
                                                   terror attack succeeded, he would inform him so that the cell could
                                                   consign the kidnap victim into Ragheb's hands. On that occasion,
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                            Ragheb instructed the Defendant to purchase zip ties and dark

                           stickers for the Kidnapping Attack.

                        D. During the morning of 1 October 2015, as Yahia was picking up
                           Ragheb and the Defendant in a Kia taxi that was in Yahia's
                           possession (hereafter, "the Kia), the three began a session of

                           planning for the Kidnapping Attack (hereafter, "the Preparatory

                           Meeting"). During this planning, it was agreed that during the
                           evening, Yahia and the Defendant would meet for the purpose of
                           perpetrating the Kidnapping Attack, as already planned in the
                           Preparatory Meeting, and because of the complexity attending
                           such a terror attack, a procedure was chosen that differed from the

                           procedure that the cell had theretofore used. Thus the latter

                           decided to recruit additional operatives for the terror attack, to

                           arm the attackers with an additional weapon, and to use a roomy

                           vehicle for transporting the kidnap victim.

                        E. ln accordance with the proposed procedure, it was decided that
                           Karam Lutfi Fathi Rizq (hereafter, "Karam"), being a member of the

                           Military Cell and already informed of the planned terror attack,
                           would participate in the Kidnapping Attack. ln addition, since Zeid
                           was a member of the cell, Yahia decided that Zeid Ziyad Jamil Amer

                           (hereafter, "Zeid") would take part in the terror attack. lt was also

                           agreed that in the evening, Ragheb would pass a handgun, which

                           he      had       located in            advance, to               yahia



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                                          for the cell's operation. The three further decided to perpetrate
                                          the Kidnapping Attack in the Skoda that was in the Defendant's
                                          possession. Also during those preparations, Yahia received zip ties,

                                          2 pairs of gloves, and 3 face scarves for the cell to use during the
                                          terror attack.
                                       F. Subsequently, as they were still traveling in the Kia, the Defendant
                                          guided Ragheb and Yahia to a dirt road near Kafr Salem that led to

 Iround stamp in Arabic]
                                          the Elon Moreh bypass road. At that point, the Defendant
 PLO
                                           proposed to the other two that they perpetrate the Kidnapping
 Detainees & Ex-Detainees
 Department
 8 February 2016
                                          Attack by using that route - by parking their vehicle on the dirt
 General Directorate for LeSal
 Affairs
                                           road and proceeding on foot to the roadway. Ragheb and Yahia
 Checked
 lndictments                               declined the Defendant's proposal, on the grounds that proceeding

                                           on foot would complicate the perpetration of the terror attack and

                                           increase the risk that the cell would be captured. Therefore the

                                           three concluded that as agreed in advance, the Kidnapping Attack
                                           would be perpetrated on the route near Beit Furiq after they had
                                           determined that security forces were not present in advance of,
                                           and immediately before, the occasion of the terror attack.

                                       G. On that same day, in the evening, Zeid picked Yahia up in the Golf
                                           that was in his possession and the two of them travelled to the Al
                                           Dahiyah area, where they met Ragheb. On that occasion, the latter

                                           passed to Yahia, as pre-arranged, the handgun and a magazine

                                           containing suitable bullets, which Ragheb had purchased with the

                                           assistance ofthe Defendant and Ragheb as related above.

                                       H. lmmediately afterward, Zeid and Yahia continued on their way
                                           toward Alraouda College, and there they picked Karam up. Then
                                           the three began traveling toward the lskan Rujib area' When the
                                           cell members reached their destination, they met the Defendant,
                                           who had come to the place in the Skoda as planned.
                                       l. Subsequently, near 10:00 p.m., the Defendant traveled together
                                           with Samir in the Skoda toward Beit Furiq Junction in order to
                                           examine the target site chosen for the perpetration of the
                                           Kidnapping Attack and confirm the absence of security forces at
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                         that site. Next, the Defendant and yahia returned to the lskan
                         Rujib area or nearby and met Karam and Zeid. Then the Defendant

                         and Karam traveled in the Skoda, at yahia's request, toward the AI-

                         Masakin area or thereabouts. At the same time, Zeid and yahia

                         traveled in the Golf toward the home of the latter. There, the latter

                         took up the Weapon, the Ammunition, the zip ties, the gloves, and
                         the face scarves, returned to Zeid's vehicle, and instructed him to
                         drive toward the Al-Masakin area.

                         When all the cell members finally met at Al-Masakin or nearby,
                         Yahia turned to Zeid and instructed him to drive in the Golf toward

                         Beit Furiq Junction and confirm the absence of security forces
                         along the route, both for that purpose itself and, according to
                         Yahia, as part of an attempt to distance Zeid from his involvement

                         in perpetrating the Kidnapping Attack.



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                                     K. While Zeid was doing so, the other cell members began to disguise
                                        themselves in order to escape identification during the
                                        perpetration of the terror attack. At this point, Yahia and the

                                        Defendant applied black stickers, which the latter had supplied
                                        himself with in advance, to the license plates of the Skoda and to

                                        other identifying signs. ln addition, the three donned the face
                                        scarves; and Yahia and Karam put the gloves on as well.

                                     L. Subsequently, Zeid signaled to the members of his cell that there
                                        were no security forces on the route; and immediately the
                                        Defendant, Karam, and Yahia began to travel toward Beit Furiq
                                        junction, with Yahia driving the Skoda. As they traveled, Yahia drew

                                        out the handgun and magazine and passed them to Karam. Then
                                        the three sought a target for the Kidnapping Attack.

                                     M. Later, near Beit Dajan Junction, the cell noticed a Mitsubishi
lround stamp in Arabic]
PLO                                      bearing lsraeli license plate 95-731-10 (hereafter, "the Mitsubishi")
Detainees & Ex-Detainees
Department                               and occupied at the time by the Henkin family - Eitam Henkin of
8 February 2016
General Directorate for Legal            blessed memory, Na'ama Henkin of blessed memory, and their
Affairs
Checked                                  four small children - who were making their way from the
lndictments
                                         community of Elon Moreh toward the community of ltamar'
                                         Thereupon, at Yahia's request, the Defendant u-turned and the cell

                                         began pursuing the Mitsubishi. Subsequently, the cell caught up

                                         with the Mitsubishi and, as they were passing it, Yahia leant the
                                         upper part of his body out the vehicle's window and fired tens of
                                         bullets from the Weapon, which was set to automatic, at the
                                         Mitsubishi.

                                     N. As a result of that gunfire, Eitam Henkin of blessed memory was
                                        injured. He stopped the vehicle at the roadside. lmmediately
                                         thereafter, the Defendant stopped his vehicle. Next Yahia with the
                                         Weapon, and Karam with the handgun, alit and began walking
                                         toward the Mitsubishi in order to kidnap one of its occupants as
                                         planned. At the same time, Yahia replaced the magazine of the

                                         Weapon with another magazine he had and Karam loaded the
                                         handgun.
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                         O. When the two reached the Mitsubishi, Yahia went to its right front
                            door while Karam went to the driver's door. Then Karam began to
                            struggle with Eitam Henkin of blessed memory, who was doing all

                            he could, with the last of his strength, to take the handgun from

                            Karam's grasp. While Eitam Henkin of blessed memory was fighting

                            for his life and for the lives of his family, the Defendant noticed
                            what was happening and fired a burst of bullets at the victim from
                            close range with the Weapon set to automatic, until\the victim
                            gave up the ghost.


                            Bv the above deeds. the Defendant and his confederates
                            intentionallv caused the death of Eitam Henkin of blessed
                            memorv,




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                            CONFIDENTIAL                                                        SHATSKYJDOlS24-T


                            Sixth Count:

                            Natureof theOffense: lntentionally causing death, an offense pursuant to Sections
                            209(a) and 199c (a and b) of the Security Provisions Order [Consolidated Version]
                            (Judea and Samaria) (No. 1651), 5770-2009.

                                DetailsoftheOffense: The abovenamed Defendant, within the Region, intentionally
                            caused the death of a person; specifically:

                                                 lmmediately after the occurrences of the previous count of indictment,
[round stamp in Arabic]
PLO                                              Na'ama Henkin of blessed memory began to struggle with Yahia in an
Detainees & Ex-Detainees
Department                                       attempt to survive. Then, without hesitation, Yahia fired a burst of
8 February 2016
General Directorate for LeBal                    bullets, point blank, at Na'ama Henkin of blessed memory and caused
Affairs
Checked                                          her death in front of her small children, who were watching the
lndictments
                                                 incident.

                                                 With their deeds as above. the Defendant and his confederates
                                                 intentionallv caused the death of Na'ama Henkin of blessed memorv.



                                Seventh Count:

                                Nature of the Offense: Attempted kidnapping in aggravating circumstances, an
                                                 offense pursuant to Sections 213(d) and 198 of the Security Provisions

                                                 Order [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-
                                                 2009.

                                DetailsoftheOffense: The abovenamed Defendant, within the Region, kidnapped a
                                                 person while knowing that the kidnap victim's life would be in danger,

                                                 or kidnapped a person for the purpose of extortion or threaU
                                                 specifica llY:

                                                 By the deeds related in the seventh and eighth counts of indictment,

                                the Defendant attempted to kidnap the occupants ofthe vehicle.
                                Eiehth Count:

                                Nature ofthe Offense: Attempted intentional causation of death, an offense pursuant

                                                 to Sections 209(a) and 198 of the Security Provisions lConsolidated
                                                 Versionl (Judea and Samaria) (No. 1651), 5770-2009'
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          Detailsof theoffense: The abovenamed Defendant, within the Region, attempted to
                          intentionally bring death to a person; specifically:          By      their
                         deeds as recounted in subsection (m) of the seventh count of
                         indictment, the Defendant and his confederates attempted to bring
                         death to M.H., the 9-year-old son of Eitam and Na,ama Henkin of
                         blessed memory.



          Ninth Count:

          Nature ofthe offense: Attempted intentional causation of death, an offense pursuant

                         to Sections 209(a) and 198 of the Security provisions Order
                         [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-ZOO}.

          Detailsof theoffense: The abovenamed Defendant, within the Region, attempted to
                         intentionally bring death to a person; specifically:

                         By their deeds as recounted in subsection (m) ofthe seventh count of

                         indictment, the Defendant and his confederates attempted to bring
                         death to N.H., the 7-year-old son of Eitam and Na'ama Henkin of
                         blessed memory.




         Tenth Count:

          Nature ofthe offense: Attempted intentional causation of death, an offense pursuant

                         to Sections 209(a) and 198 of the Security provisions Order
                         [Consolidated Version] (Judea and Samaria) (No. 1651), S77O-2OO}.

         Detailsof theoffense: The abovenamed Defendant, within the Region, attempted to
                         intentionally bring death to a person; specifically:

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                          CONFIDENTIAL                                                        SHATSKY{ D01825-T


                                            By his deeds as recounted in subsection (m) of the seventh count of

                                            indictment, the Defendant attempted to bring death to N'H., the 4-
                                            year-old son of Eitam and Na'ama Henkin of blessed memory'

                          Eleventh Count:

                          Nature ofthe Offense: Attempted intentional causation of death, an offense pursuant

                                            to Sections 209(a) and 198 of the Security Provisions Order
                                            lConsolidated Versionl (Judea and Samaria) (No. 1651), 5770-2009'

                          Detailsof theOffense: The abovenamed Defendant, within the Region, attempted to
                                            intentionally bring death to a person; specificallyl

                                            By their deeds as recounted in subsection (m) ofthe seventh count of

                                            indictment, the Defendant and his confederates attempted to bring
                                            death to A.H., the 1O-year-old son of Eitam and Na'ama Henkin of
                                            blessed memory.

                          Twelfth Count:

                          Nature of the Offense: Harboring, an offense pursuant to Sections 245 and 333 of the
                                            Security Provisions Order [Consolidated Version] (Judea and Samaria)
                                            (No. 1651),5770-2009.

                          Detailsof theOffense: The abovenamed Defendant, within the Region, helped a
                                            person, or gave shelter to some person, who had violated security-
Iround stamp in Arabic]                     related legislation or who was engaging, or had engaged, in some
PLO
Detainees & Ex-Detainees                    activity intended to harm the public welfare, the welfare of the forces
Department
8 February 20L6
                                            and soldiers of the lDF, and the maintenance of public order, or who
General Directorate for Legal
Affairs
                                            could be reasonably suspected of having done so, whether the means
Checked
lndictments
                                            of help consisted of information, shelter, food, drink, money, clothing,
                                            weaponry, ammunition, supplies, fodder, means of transport, kerosene

                                            or any other fuel, or whether it was any other means; specifically:

                                            A. Further to what the seventh count of indictment relates, the
                                               Defendant, while firing at Eitam Henkin of blessed memory,
                                                wounded Karam in the left hand with one of his bullets' As a result,

                                                Karam dropped the handgun to the ground and returned to the

                                                Skoda. Only a few seconds later, although after Yahia had brought

                                                death to Na'ama Henkin of blessed memory, Yahia also returned.
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                              The Defendant drove the vehicle as they fled toward the Al-
                              Masakin area from the scene ofthe terror attack.

                          B. Subsequently, after the Defendant, Karam, and yahia had reached
                              their destination, they met Zeid as pre-arranged. Then yahia and
                              Karam switched into Zeid's vehicle and traveled toward his home

                              while the Defendant traveled away.

          Thirteenth Count:

          Natureof theoffense: lnterference in legal proceedings, an offense pursuant to

                         Section 228(a) of the Security Provisions Order [Consolidated Version]
                          (Judea and Samaria) (No. 1651), 5770-2009.


          Details of the offense: The Defendant, within the area, acted with intent to prevent or

                         thwart a legal process or to bring about a miscarriage of justice,
                         whether by obstructing the summoning of a witness, by concealing
                         evidence, or by any other means. Specifically:

                         A. By his deeds as recounted in subsection c of the third count of
                              indictmenf as he switched license plates on the Fiat, the
                              Defendant interfered in a legal process.

                         B. By his deeds as recounted in subsection (k) of the fifth count of
                              indictment, as he applied dark stickers to the surface of the Skoda,
                              the Defendant interfered in a legal process.

         CONFIDENTIAL                                                        SHATSKY-J001825-T
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                            CONFIDENTIAL                                                       SHATSKY.JDO1826.T




                            Fourteeenth Count:

                            Nature of the Offense: Trading in war materiel, an offense pursuant to Sections 233(b)

                                              and 199 (a and b) of the Security Provisions Order [Consolidated
                                              Versionl (Judea and Samaria) (No. 1651), 5770-2009.

                                                         Details of the Offense: The abovenamed Defendant, within the
lround stamp in Arabic]
PLO
                                              Region, traded or otherwise dealt with war materiel while having no
Detainees & Ex-Detainees
Department
                                              permit signed by or on behalf of the regional commander; specifically:
8 February 2016
General Directorate for Legal
Affairs
                                              A. By his deeds as described in subsection (d) of the first count of
Checked
                                                     indictment, the Defendant traded in war materiel without a legal
lndictm ents
                                                     permit to do so.

                            Witnesses for the Prosecution:

                                1. Police File 3593/15:
                                2. ^*""'"'5588 Master Sergeant Radi Hatib (taker of the Defendant's statements of 5
                                   october 2015 and 20 october 2105).
                                   *"""6618
                                3.          Advanced Staff Sergeant Firas Jabar (taker of the Defendant's
                                     statements of 8 November 2015 and 12 November 2015, and preparer of the

                                     form accompanying exhibits from 19 October 2015).
                                4. ^*""'"'3520 Superintendent Asaf Malka (preparer of an activity report from 13
                                     November 2015.
                                     -"""'"'9462
                                5.                 Ertiom Tsarnogli (preparer of a form accompanying exhibits from 2

                                     october 2015)
                                6. ^""""'""1175 Sharif Uwida (preparer of a memorandum from 1 october 2015, a
                                     form accompanying exhibits, an activity report, and a form for sending exhibits
                                     to the ballistics lab from 2 October 2015 and 6 October 2015).

                                7. ^*"""!572 Advanced Staff Sergeant Yoel Hagai (preparer of a receipt form for
                                   exhibits to be examined from 2 October 2015 and 6 October 2015).
                                   -""""'2978
                                8.            Amar Sliman (preparer of a form accompanying exhibits from 4
                                     October 2015, 5 October 2015, and 6 October 2015, preparer of an
                                     acknowledgement        of investigation material received from the police on 28
                                     October 2105, and preparer ofa memorandum from 10 November 2015).

                                9. Superintendent Meir Dokel (preparer of a memorandum from 8 October 2015)
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                   **""1917
             10.              Advanced Staff Sergeant Yifat Biton Levanon (preparer of a certification

                   of confession to causing harm as a result of hostile activity against lsrael from 6
                   November 2015)

             11. ^"""'"'6069 Advanced Staff Sergeant Avi Nakar (preparer of an array of photos

                   from 1 October 2015, a forensic examination report from 1 October 2015 and 4
                   October 2015, a report on seizure of exhibits from 4 October 2015, and a
                   report documenting the processing of fingerprints from 6 October 2015.

             12. ^*""""3833 Sergeant Major Tomer Ahrak (preparer of a memorandum from 10

                   November 2015)

             13. """"3290 Senior Staff Sergeant Major yaacov yerushalmi (preparer of a

                   memorandum from 16 November 2015)

             14."*"5It7 Senior Non-Commissioned Officer Haim Cohen (preparer of an array of
                   photos from 15 October 2015 and a report on seizure of exhibits from 1g

                   october 2015).
             75.^*'"2477 Advanced Staff Sergeant Amar Hassan (preparer of a memorandum

                   from 5 October 2015)
             16. """"""9898 Master Sergeant Sima Avrahami (preparer of a receipt for exhibits to

                   be examined from 19 October 2015).




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                                CONFIDENTIAL                                                        SHATSKY.JDO1827-T




                                          **""'"'7380
                                    17,                 Yaacov Grenik (preparer of a report on seizure of exhibits from 4

                                          october 2015).
                                    18. "*"".'7893 Sergeant Major Majed Shufi (chain of exhibit)

                                    19. """'"'0730 Chief lnspector Shlomo Siton (preparer of an activity report from 6

                                          october 2015)
                                          -"'"3995
                                    20.              Senior Staff Sergeant Major Yosi Larnav (preparer of an activity report

                                          from 6 October 2015)
                                    2I.*'"""2542 Master Sergeant Shmuel Alya (preparer of an activity report from 3
                                          october 2015)
                                    22."*"'""957I Master Sergeant Ouni Yujenk (preparer of an activity report from 1
                                          october 2015)
                                    23."*'""o8272 Senior Staff Sergeant Major Eran Ashkenazi (preparer of an activity

                                          report from 1 October 2015)

                                    24.^*"'2695 Senior Staff Sergeant Major Alex Vino (preparer of an activity report

                                          from 1 October 2015)
                                    25.^'o^"'06577 Master Sergeant Eyal Kalo (preparer of an activity report from 1

                                          october 2015)
                                          **""'""6354
                                    26.                 Superintendent Michal Levin Elad (preparer of an examination report

                                          from 12 October 2015 and 5 November 2015).
                                    27.*"""3485 Chief lnspector Tomer Arbeli (preparer of an examination report from
                                          12 October 2015, t8 October 2OI5, 19 October 2015, and 5 November 2015).

                                          Superintendent Moshe Spitzen (preparer of an expert opinion from 9
Iround stamp in Arabic]
PLO
Detainees & Ex-Detainees
                                          November 2015)
Departm ent
8 February 2016                           Superintendent Avi Kaufman (preparer of an expert opinion from 13 October
General Directorate for Legal
Affairs                                   2015 and 27 October 2015 and preparer of a confession to conspiracy for the
checked
lndictments                               series of open incidents from 13 October 2015).

                                          Chief Superintendent Dr. Yuri Mezin (preparer of a death announcement from

                                          1 October 2015)

                                    31. Yosi Eisen (preparer of a certification of disclosure from 15 October 2015)

                                    32. Captain Shmuel Rabinowitz (lDF, details with the Prosecution)
                                    33. First Lieutenant Shahar Yonah (lDF, details with the Prosecution)
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                    R"d""t"d2046 yahia
              34.                        Muhamad Naif Abdullah Hajj Hamad (detainee, prosecution
                    File22s2/t5)
                    R"d""t"d8869
              35.                  Karam Lutfi Fathi Rizq (detainee, prosecution File2250/151.
                    R"d"'t"d7710
              36.                  Zeid Ziyad Jamil Amer (detainee, prosecution File22St/$1.

              37.Redacted1855 Bassam Ramhi Daoud Abu Jezala (detainee, prosecution File

                    225s/$l
                    Redacted5587
              38.                  Amjad Adel Mohamed Aliwi (detainee)
                    Redacted1328
              39,                   Ragheb Ahmad Mohamed Aliwiya (detainee, prosecution File
                    2283/7s)
                    Redacted0262
              40.                  Mohamed Nazmi Mohamed Amar (released)
              41. Amihai Azulai (details with the Prosecution)
              42. Noa Shalgi (details with the Prosecution)
              43. Elitzur Eliahu Trabelsi (details with the prosecution)
              44. Zvi Goren (details with the Prosecution)

              45. Ovadia Reisenzvi (details with the prosecution)



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         CONFIDENTIAL                                                          SHATSKY-JD01828-T




             46. "Shefer" (by code name) (General Security Services) (details with the
                   Prosecution)

             47. "Maurice" (by code name) (General Security Services) (details with the
                   Prosecution)

         Police File 3202/15:

             48. """""'6831 Advanced Staff Sergeant Sassi Ezra (preparer of a receipt for exhibits

                   to be examined from 8 September 2015)
             49. Superintendent Ezra Shoshani (preparer of an expert opinion from 16
                   September 2015)
                   **"'5117
             50.              Senior Non-Commissioned Officer Haim Cohen (preparer of a report on

                   seizure of exhibits from 31 August 2015 and a report on forensic examination

                   from 6 September 2015).
                   **'"'"05782
             51.                 Boaz Hindig Cohen (preparer of a report on seizure of exhibits from 31

                   August 2015 and preparer of an array of photos and a forensic examination

                   report from 6 September 2015 and 4 November 2015).

              52.^'"'"""9!4! Advanced Staff Sergeant Hagai Eckler (preparer of a certification of
                   confession to causing harm as a result of hostile activity against lsrael from 31

                   August 2015)

              53.^ """7778 Yuval Shucher (preparer of a form for sending exhibits to the ballistics
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                   lab from 1 September 2015).                                         PLO
                                                                                       Detainees & Ex-Detainees
              54. Roni Edri (details with the Prosecution).                            Department
                                                                                       8 February 2016
                                                                                       General Directorate for Legal
                                                                                       Affairs
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                                                                        Rotem Cohen                     First

                                                                        Lieutenant

                                                                        Military Prosecutor

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          According to the informalion received from the lsiaeli Authorities, the lnlernational Commitiee
                                                                                                          of the Red
          Cross attests that:


                        SAMIR ZOHEIR IBRAHIM KOUSA                                                                                      tq
          Frorn:        NABLUS                                                          lD NO, Redactedl700



         Was arrested by the lsraeli Authorities on (dd/mm/yyyy):                       03.1 0.201 5


         He is to dale: Sontenced

         Length of sentence / adrninistrative period: Life Sentenco




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   CICR                    Thls attestation is vald only if the Engrish and
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               Mr;         SAMIR ZOHEIR IBRAHIM KOUSA


               From       i/4aLUS                                                           lD NO, RedactedlZ00


             Was arrested by the lsrael iAuthorities on
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            lJe is to date: Sentenced

            Lenglh of sentence i administrative period: Life $entence




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                                              TO WHOM IT MAY CONCERN


*ICR                    Thls attestation is valid only if the English and Arabic parts match each other



         According to the information received from the lsraeli Authorilies, lhe lnternational Committee of the Red
         Cross attests that:


         Mr:            SAMIR ZOHEIR IBRAHIM KOUSA


         From:          NABLUS                                                    lD NO. Redacied1700b                   .,   t-'
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         Was arrested by the lsraeli Authorities on (dd/mm/yyyy): 03.10.2015                                       \
         He is to date: Sentenced
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         l-ength of sentence / administralive period: Life Sentence                                                                        t)
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               According lo the information received from lhe lsraeli Authorilies, the lnternational Committee of the Red
               Cross altests lhat:


               Mr:          SJAMIiI ZOHEIIT IBRAHIM KOUT'A


               From         A'AALUS                                                                         R"d""td17oo
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               Was arrested by the lsraeli Authorities on (dd/mmlyyyy):                         03.10.201 5
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               He is io date: Sentenced

               Length of sentence / administrative perjod: Life Sentence
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               From:       NABLUS                                                 ,D NO. Redacredl7''


            Was arrested by the lsraeli Authoriiies on (ddlmmtyyyy):              03.1 0.201 5

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                         ntNtt;'t rrrr t:) 198-l (N)209 o)!)),D)!) nt)ly,njt)ff t):n inrtl)                    l!1D)l :n.ltt!,i.tnli.l,,t
                                         .        2009 -y"vtn,(1651 'DD)(v/,,))) {l)]vJD nD]lJ Inu)r

                                                 ,nl]lf,f orx )v.i tntn) otrt) nD)) ,-1l\Nt ,!,,)n DvN)n : ilirlyit )u,tt
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                        'll'ly,D-Ilpn rllv./)Xn ul3),n P,,Df "llnN) lg,nnll Dl)n lntNl't't), .N
                        trs l:y) nt)9Jn ,'|nNf n'IplD D]f)D) DNnnt ,-ttlll ,N)n)l oyJxrn
                        f,)N-t nl.( Dl)ltnNn l)f'Iy ,Ju,Dnf .l')'! n)ll )r1l! nr:) 'llDpn nyl)nn
                             -rlDNn 1)vn
                                          l"'ltN) )lnu)l nlnl)          1'Ty);-t 'D'If Dn)NJnn n]-I)N
                                                                'ltnft)
                        N)n) our ,),'l))!n yl:)l) ))u'trJDN Dtp)n ), nut)un tnlrtv/ -1nNh ,\N .:
                        pv;rn r): nN r,)Nln )urt ,1:) ltnon otpn) rx )t:tnn tlr, tln!!
                                                                                           .nulunnnl
                        pu:n r): lluNln n]v/ll "tv,,Nf ,D)]Dltf ovrNrnl N)n) tvr)5t ,l)n'tnN9 .)
                        ,'|)lN uN)5 ))DD1ltnNn )u tr:r: truNtn) N)n) )npnnn tN .nv)Dnnnl
                        {',gNtsit l)1,, :'lh5 ,4-1480-90 n't!Dhv/ n))}uD)! r11r1 rl)1-11) p911n
                        o)))vrn .itvn',52 lntu'llvrl )-llnNn tv/'tnt tu) oyrN)nt )n) N)n)u "lf
                    tf-tf 1))ntn ,nly)) 'ty))ng,nl ,))-.t19 nlt n,t.t3 -1.|tN 1f!, DnDD)l l)nn
                    n'titr lttN 3lu)n 'I)r'ln t)t'r nur]y "tu,N ,nt)rNtv/r r1;1'r1 11:111) ggr11n
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                                                          Z0O9 -!r"UIn ,{165t ,OnXU,,.t)) [])]UD nDt)l llnu)l
                                            : t)))il-l ,n)]'l)tr   nrx )v.r tntn) otrr) nD)) ,".11\Nf ,),,1n nv;Nln     :   illt:ril   t9't5
                    l,)N-'l Dy -rn) Erlrxtn u)9) n!,1:)                    ltnon -rylDl lN l0/0g/2015 D])t .N
                   -lNtnnn r-'l);-t yl))5
                                    1t)v;r: ntrtx nut)un )nntvr Dfv/tv_, )]:ln: N>nrl
                   ru))nn )u rntn) ottr) nlun: lpl) )'t) !l:rl yy:) n.l-tv.ltNt .t)-t.t ))),)
                   "|lN: ,n)rln ntyuf )t)n yt))o nN !y:) oyxrn y)Jn ,Jl 1tN) .r-nnr
                   l-ln nl t)Jf B)-nn) tr.'fu))nE rrrl )u nl! nyt)n n)l) nrr) nnl!
                   E YrNJ;t .D))n tnlN )rln3f, .1Ir )1)n !,1))! nN !tt, t,)N-t y)Jn lnNn

                                                                                          .ny:n) ntly) Nrn)l
                   ,DflDnl ,uNr5n trf'll ttJNln JJut ,1:) .llnpn l!tDl ]N]fD tnN) i-lyv/ .f
                   ,N)n)l vJ)9't!,)) buNJn y))n n), .1:) ltnon oti:n) tx .1tt n:r tttt.r)
                   i:v;:n r)r lntvr'lfu) )'tlnNn :l\nDt oi:Dnnl uN.rln ::l) Dr:: .tlyN
                              .l))tnnf n)') t'tnlJ 'tl!,) ny)D)l o)))v/n t)nn ,tx .nvltDnnn)

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                      tlt   nN DgrN)it -lJy ,")ty 1'rr) orr:urn ty))n -lvlN) ,1:n tnN) tJp ]Dl
                      r1nr1 1p111)3 np)rUU)tn 111rq;1 1p61) nN
                                                                           l))nnt l-t-tn )"I))f UN)tn
                                          .nr,) nDt:) D)-l'11 D)))un l))uDn ,1:n lnx) .tlD)Nlv-r:
                      D)fl-t D))]-tnNit tln)N X)Unt t:lyr) p;1r1 Dy,X)n )1,))n ny ,Junnl
                      D"l |!,1 'lt)Dlll tl)!' nttU))nnn 1tp:) Otly)D)l D)))VJit 'p)grDi-t ,Dr)NlUr

                      )y: rNr)p )tun f)'tt D)))Un l))nfnv_rn ,IN .D)rNtV_;) D)tf't tnN O)"|I
                      nl ,(,,trN'tVrtn J)lit'r:1)n)) 70-B0S-78 n199nv/ t))N]U,) r1;111 nr11)
                      n)))! D'rJ]lnNn ))'J)l ,onxtp) y9) 'tv/N ,)..}-tN 'l)l-r nyn nrllNl )n)
                      oli?nf )N n)r) nnlft ,lv;Dnf .)>N"'tv.,)n lftn -lnN o)i7)1i ))nnt ng"l5
                      ll:! ,r)g'1y./li-l fl"ln nN trVN:n) N)n) 1))V,ttU, 1nN, ,Jf, ltnpn
                      p11r) prff )nil ,r:: Tl ."l]nNn llln )v, llNnuD Dlf't nN DDl.lnNil
                      .o)tun n]l/Jv) >v Pnlun rNl't )-r) )"tl'r) r'l-rv/! ))Nlu,)n f,)ln .]ly)
                                              .Drpbnn N'rn)r oux)n lur )r)n ),'r))9 y]J)r rix) rrn
                      tJ!)lt ))N"lUli'l :t)'l;-t )Ur r)XnUrn l'l)l tlN )"1)n )ll'lf tlTn ,Jfn nNftnf
                      )'tlun )-t'rN pt't )n)it yt3) "ltDNn nfl) .I)'3'tP n))NDvn]nupu nN
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                      1t']t l!) N254-') (N]209 D)!)!'D )5) nl)try ,i])l',r)r nttD np:tl) lvJP nl)uil :illtJ!?] tl'lilh
                                       .2009 -!rIv./ttn ,$65I'rD)N),'t)) [lrlvJD nD))J
                                                                                              .l]nu)f nlNt)n

                                :'l)))it'r rit)l))t DlN )U lnl}3) D)])) 'lv./P -lui? ,'lllNl ,)")n DUN)n I altl!,it tg'r5
                      DvJN)n V.')9) ,"1't9)) Dt) )NJ]tOf, ,'lf) llbDn
                                                                              -Iylnl lN 2t/0912015 Dl)3 .N
                      n)!vr: r'|Nf) )f 'lDy Df)p] Jf) llDpn olpnl lN Dfv/f,vJ )t:ln: N)n) D),
                                               .f,)'t)t tl)l ID'tj -l't\Nl lD'tJ )'l) ),'t))! !tl:) ,n)tbn
                      nl lEynl .lpl) )-l) yt))9 yJl) D)'l)fn -11'11 ])l'ly] 1r1y1) v)1-1r n)t ,\N .l
                      'tn!,) f')N"t .ttDNf y'i))9n ),rJ)f n:l\l) pu)n ),f nN f')N')n N)n) v,rP)l
                                                     .nulnnrnl Pvr)n )r) rN l)1))')Dnl nv.,Pf)
                      n)nt) nN!r])n ,n)tuP]N nl'!Pp )'tDu n))lDl oul$n] N'tn) lyD) ,lvrbnl
                       l)n>) 'l'ltnNn )v tnptn: n)lJ,ail ,7-2876't0 n"lo9,3v/ 1);)9p)9 rlnri
                      -r)ny tr l)Jil n))nf                   f)-l]9          rnll'lll,,,("n11?9h :)1r'
                                             11!J)
                                                     '}Nrl            'l):
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                      t))nfn ,f)"ltt n)f Dtonlf, JlDpn'tllN) N)n)'l DU,N)n l),))n ny,lN                           )

                      D)pnnl ))ln9lf, PJ'T)I ))"])'u 'llnu)fn nlnll )U Dn)nf])l D)'tlun
                      -'llrNr 'llnu)ri-l n'lntf )v nryn Drlnfl) 'l'lN)] l)ur3 .nyn nnlNl
                                .'t]DNn'ty)l )-))i'l y'l))9 tlN yJl) ont)flrD D)))vln l)lD),ly])nn
                      >u' tntv'll'tnl) i?u)n "lvJNf Dil)nllP! )! Xrntt ttgtN)n ]'l\n,llp:l)
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                                                                                                      z    )|Ul bh E lulN u,t!
                nlN-lln -tl'11 lJ) (tr.N))199-t     {N)?0g O)C)yD )t} nt)ly,nlt1ff nt.}p tlD)t)                i1       nlilu
                                              2009 -!r,,y.,nn ,(1651 'DDxt ,,))) [])1un not)l l.]nu)l
                                            l)))n'I ,n)l'))f DlN )VJ )nlD) Dl) r-t)lNl ,),'ln DUN)1 :illt:lri| tt,'l!
                r,)N-r rrfr)I? ,lt) ltDDn l!.|nt )N 2at5 fiv> tfnDtD vJlln
                                                                           l)nr3t .N
                n]uDn ltrD ltr)nDl!, !I)Nf.Jn n))lnn ltnvj )-l) !,)))t nl-IlN N)n).t
                D)t['))nn )u, DI']D nb)-.t) ,)-.]p ,n)Nfjn n)hnr rN nnnlnur n)]f-lnn
                      {,'i'I!rl'ni'r !l)rg,r . l)n)) ;rtn.r tv-r))nn l)t]n) n))lna} np)n,D).rtn1
                                      yt3): -lf-tf t,)N'], DtJNln .l)t otf)Dn n)t)
                                                                                   ,.Jv_/Dnf .l
                                      !n ytJ)fl 'ly))9t l'ltvJ)N nN V/p)t] -l']nN) lt-lnNn
                                          'I t))y D))tDn) n):nn n)5) Ntn ))
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                                              ff)N'l) 1,)nN IVJ)N ,lfn    -lnN) -.lJp
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                        .-.'.' "a:.
                                           t:n) llunn )v/ tn']nDill )yl))vrf 1) yrrgrr )) t))-t),.t
               'l)u')iJ) tl)N't
                                          ,n):) nt)unn !u)tl n"l)nl )t or))v./n lnl)D ^1.6,
               ,lfn  tnN>     T)"n  .pnJr]  T"ltf )l)n )))J -lvJlc l)nn) ,-r,)nN ntv fv/ trt)Dn
               l)un) }n))tn )) t')nN nN lt-ry) nu,rDr.l).t ,I))u.,: n n)ly5 !il ttrnr
               nnprl n-rlNt)N nl):n) J'|nuf v/)ir:n nttp)> !.r)n) t))yt )tln) tu,))r'3
                                                                    .l)unn nN t'll9n nnll
                JlDsn Dtpnl ]N Df lirlu )r:u: ,l)> J),tDil .ly]nl ]N 28/09/2015 Dl)f                      .)
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               l't))o      ):,!f) )f nvt)v,,n l\r))nn rll ilur))t r..l)DD3.n!)r]nnl )-l)n
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               Dy N)n) of)o ,l) |uf .))-.)la n.rf, JtnDt ,ot/10/2015 ot)f, n!)unit
               n))tnnu Il)b )!r rNu .t)f.ry) ,n)Jr nSrgnn yl))5] il1)Dt )f t,)N_t
               buNrn 'tN f,')N'l nn)il nl lD!,nf .f,)N-t )w t)tc.,p) ltunn nN "llllnn
                                          .n.!)unn yt:u n:tp) r'ltnf ntpfrnt nrp:n ut:t)
               n)))Dl ttg,NJnt f,)N".t nN N)n, lpN lly,1i7tfn nlyut,01./10/2015 D.l)l                 -I

               nv,t)un l)nn ,N:D )u tnptnr rlNltj)n ,(,'ntitn:)1,, ,1)il)) ,1)p )tDn
           OflD nt 1tt:n 1)nn: .('iD)ni., ft\rr)g'r ,1)n)) ngrunn yt))t nX
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           y1))5 ytJ)t Dv.,,> t)').t..|
                                          lNfoN tt\Nl !,vjxrnl N)n) tu,)!) l"tyn n)yu,f )f
           yl))!l nllDDn ntfl-.)lDn nf)).! ,n)lnn nu))9f 1.t!, ..p]]nnf n5)Dnn
           T! n))tnn nN v.,n)vj 'tuN n.ltnnnn n:tv-, n)tys nttnn )y u)n)n
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           unn) ,y]:rcn yt:r:) o>lpt) D)))!,5 1rs) or:Inxn lur)nn
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           n):tn ov,) nr.ln ,l''' Unnun)t lDr) pu) )>ff ntJflnn n.r))nn nN
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           lr)fn nrl)N nD-riTrnn lny)'I) 'r]N)l Ir)NrJn n')rnr -rf,n rrlln                 nr.l)
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           .yttrl: iz)n )lplr 1r,1r1,, ,l)n)) -lDNy )rn,) -lNr.t -t)t D) )) N>nr urlnn
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                  )rt))o rlN ty:f) )) nv.bvn )!tp,.l).|n:.nr)tnn
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             'rrlrNn "lDD ,nr "In),nf, .1,)N'rl
                                                ru)t           -tttx)
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             n-ti7'n ff'rf, N)n) Dy ln) truNJn lr'),20:
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            !r't:rr rtt:) -rnl)v., l.v)n nx 1tn:) nrn )y ,lN'r
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                                                                    )t)vr)t ncrunn y1))5
            l)) l)n9n ot;:n) tx f),),t-.) IN)DN trrx) on:rt:p.tr )y x>n.,r otxrn
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           ,i7v_r)n ))) rN trlr) .lt..lnNr )u: ov.r .l.t..tnNn
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                     )1tt nNi.,t Dnfy n]lpn) n)))nn )")1t"l ln) l)nn ,-j)l )u lnrly!) )t:Ptrr xt
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                     DU,X)nt N)n) til)l1n,1:rl).)rl:rln )''l!)l n!'l D))ln)\ nX
                     )\, :'tnrln nt)nl, )l) )!, ,-Tyln llyln lllnNn n)u-ll ]')nvl n)n) nlPlln
                     nt)yr nx nttt)urn 'ttJy ,ll lnl D)lp]) )'ln)\ ))n)D r:l )yt il'IliTot'l lf-l
                                                   .rt!5)n nx tv,t:) D) D-)11 N)n)v, 'llyf D))ln
                                                                                 -t)nl ,lvJnnf .l)
                       )u Dn.|n)l) -]-Iy)n nl'r]N ln)))ln rl:n) nntN 1)tv./ lnN)
                       'rfy) ny)g)f N)n)l D'l) ,og'N);l ])nn ,nyl)nn 'llll 'llnu)1il nlnl)
                       .'1)u ,o'llrol 1)nn: .nrtpon ll"lf )n]J]l"lnNn lUNr pr115          nnlf
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                       rnN nYrl)un ]ln ,IN .D-ll )"1')) onlN ]tnl r))Dnnnl n-lPNn nN N)nt
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                 nN o))]^|l]Nn l))ui) ,JuDnf .)u,utf,)Dn lf"]
                      r!:n 1tr)!n llu ))! ]]N N)nl NlJln ,rlyl ]f .]n]!Py] )V',)l]J)Dil lf'l
                      nt"lvJy ,)Dnt\l'lN )'r) lsn )), 'l'llfn n)n ny ,pv./)n )):n n"l)l lfln lltn)
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                       J].]n.jf]
                                  .l]fl nN .lJy.IVJN 5il1 1:p)i-.1 Dn)N y:5] -.1)DNn )1)nn nNJlif '.1)
                      ))) lnlu]fv) /N)n) l)'li-lD l1'l) tN lfln tN ttYJN)n "lJ!' l)lnN) -l)D
                      )y )u,)t'ly)Dn trf] 'If,)r) D)-tyl! t)1nl ,ntpun lnlu']fv,,f ,D']ll 'Pv')n
                      n))tnn rN N)n) T)nn ,t:r'll .pllnn) l)fv|l)D TnN                   ltUn) n:n
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                            ,n"rPNn nN lyt tr'llvJ'I]}ll lnlu'lf nn))nv.,, n99l)n n))9nDl PVJ)n

                      n)n1P tl))n)n n)t) Nrnr u))) ,)u)flj)Dn ::r) llngl D)))gtn lu)nvJD lu
                      Dn:N oy nnynn) olf )nn lN .ln)n n)1) u))) D"l)v',l l)!'l l)ln )v,l
                      nN )tur) lln )! ln)lf)fv/ ): nuy D))]'lnNi-I l)nlnlfl ''tv'lN ,)"\
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                      nn )yr trrn )y i2fN) ),,1 J)P)n Dn)N 'Ilyl .D'l) )u             p"lrn nlPNn
                      -1113 nl)nn )ur tr:y)
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                      )\, tnnv.r) nng)u ,)Un'lU]N Lynl )'t) )), l]lfD n)n PVr)n n! ,D)l'l-rf
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                                                                                   :rurvj ttlurx u-t9
        nlN']ln -.llll lf> h+N))I99-) (X)209 Org:yD )t, n-.})ty ,n)t)fl ,lID ,tD)-.)) i'l'r tl1, i nlnn
                                            2009 'y,,vJnn ,(1651 ,Dn)(u,,1)) []])v/D nDt)l
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        N)n)f i?lN)n) ),,t Pp:n nn),) n)nn ,D't)pn olu)Ni-.I u-t!f ltDNn lnN) T)D
        'lry) ,DtN n)tun ,D)t'|-rf t]ti    N)n) n-.1) rDtD)n Nr)t ,\N .)y1r;1) ]l'pr)1
                        .vrnlnDf ]lnv/ D))upn n)-r)) )tD) nntb) o-l)] ),,1 l)pji.l nny)


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       lN,O))1"| n)fD) )l9J n)nl lpn)itv/ ny)'l)f D'tN lgln,'tllNf,,),,)n OVrN)n :ilt:rnrU.rO
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                                                                  : l)r)it.! ,D))N)         UtnD> )T) DtN lpn
       nN ll\rn) tlgtNt'i' ne)) ,)))DV,nl )y)tv,,it O]U)Nn )U-.ttf llnNn nN lnlv.,!,]
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       tt]Ntln -)f]f tf) "198-t (N)20g D)s)yD )!) n"l)ty ,n)l]:: n]lD nn)]))                               llDr) :il.lrltril tllillt
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       ])!nlv/t tlLtNtit ]0)) ,ryrfurn Dtv.,)Nn u1!> ,)) p"9l D)-.llnNn Dn)u!,nf
                        .),,1 yp)n nD),)'l Dtl)N )u o:: ,9.i1 .l) ,.il.D )u tntn) otrr)



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                                        .2009 -!,,ur'ln ,(1651 ,Dnxu,,.l)) [])tv/n n9llJ ltn\t)l

                        : l)))i-t'l ,nl1])t DlN ,ur lnln> Dl-1)) nD)) ,-l.t\Nf ,),,)n ourN)n                             illt:yit   rt215

       ])9nlYjl trvJNJn 'lD)) ,)y)lun DlvJ)Nn u-.15> ,)1 p,,Dl B)-tlDNn on)uyDl
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                               1.,)1ll\1l] fi\rl{l;    I 'i" j }I)-lt'-'i-] Dl\|'.}{;t \)-l_}".. )) r- ','\--.: l-t)'l'l)l}i;-t Ltit)\r)r}-l
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                              ItiSrrtv.rt       Y,,Ntn tD)t ,)),)fV/A Dl\r)Nn U"ll) ,)) p,'Dt D)llnNn Dn)V,,!Dl
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                              nglll llnu): t-r]N-ltn ttlt rJ) 3]3-r 245 D)r)yD )5) n'l)ty ,u)pn lnn ul!!,ln1!4
                                                                     .2009 - y"unn,{165t,Dn)('l't-tntv./n)             n'iln)) [r)tv,/n
                              np'nn )y l"rr:y tt),v/ D'lN )* v);tn 1n: rx orx) try,'t"t\Nt ,)1,)n oux)n                                        illr:rn rl,10
                              ,'rl):n o.l)ur yut) nn'tur:t, n)r!l ):: i7ul! n)nu tN iTpt),i't lN Jlnu)tn
                              r: ttun) t)tD -t)g) U)VJ tN l-l.u)!n ^rtun Dt)pt 1r)16.1 )rr;-.13 n]nlf Dl)V,
                              ,PU') ,D)'r)l ,lof ,ni-lvrll ,lllt! ,nDnn ,'t't)r)']r lnn rr) ))r 1>: ,1: nv-,!
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                             l)Pln DnlN -)f!,) DtrNin n't) ny ,)!r)Dnn utvr)Nn ulc: ttnx) lu,Dnl .N
                             )t!n ,1::r: nNrtnf .nr)Nnun lt)f ]ytll o'lfl D)),:)pn rnN u! ,),,t
                             rnx) ntttlu nt)lgr .n-t'lpon :I) ;-1")\nf tu] li:tx n-IiTNil nN D-'rf
                             -lrn Ntn o)
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                                      .1rxun)x rtrx r:y) !'|'t)b{n ntrrn ou)nnt lllf )nl) trurxtilv/
                             'tllt D))]"'lnNn ty.r)5 ,O-Drr) Nr;p1 Dlt ,Dg,NJn \!rr:nV;nt ,lV_rnnf l
                              lltnNn l:u )n:: -uy) 't),I2)) rrt )v,r tr:l) Dl)t N)n) l-tt), ,tN .ollpDf
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                             t.totlJ llnut:t nlNl)n r:t:               t:) (X)ZZS 1ry9 rr);11r15r,U!V_r)::fr)n !r.)l1vr iit.rt:!,;1 nlnrl
                                                                     2009-y,,unn ,{r65l ,DD) (lt-}tr}unl n'tln)) {t).}\rrl
                             >tr! Nr:i-t) )N )Lll5)vl l))n ))u;ln) tx lrt:n) n)ltff -ll't nVJy,-.lt\Nl
                                                                                                    ,ovrN)il :ir.lr:J,il rgl!
                             ,r-lnN 'I-t-11 l)ll nl)N-t nt:)!nr 'l1t ,'1, )V: rn:r:tn )t))Dj l)t ,l)-r y1lt)y
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                             nN DurN)n 1r)nn n! ,)u))vrn nt\r)Nn Dt3) ,) it,,Df t))lNn nN tJltv/ll N
                                                         .U!V;)l )f))n OUN)1 y.,l)t, ,LrN)On f l.1l ))n)ln Il)nl:,

                             L-l\1'r\)n     i:r:in ny,iv.rrDnn Dtv,.Nn LrtDt,N, t,,Dt -.t.t)tNi] nN )rl]\rJr] -l
                                                 D)ttrD rl'!n t)vJNln v,f )t, ,n-T.ti;tlrn :,tl-l 1:)) ))r ttt;t: Jt.lil:]..1)l


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                ntN.]ln -lrlf tJ) (l+-N))199-t (l)233 o)D)yp )9) nl1r!,,)nDnrn'i1)Jl -rnD : i'tltfjt?t nl;1t)
                                             2009-y,,y.,n- ,(1651 ,un) (.lt-lDtun.l nTln)) [])]Un npt)l l]n\)f
                'ln)n Nr) ,)nnn)n tt)tf nlnN nllJl i7u), tN 'tnD ,"t'|lNf ,),')n ov/N)n : i'r'1t5yil t9lc
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                x)) n,,)nx:]t'tnNn tnD ,'ltu,N'ln Dtv-,)Nil D19) ,T p"pl llnNn tN lnlv,,yl
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                                                        .(13/rr/$ tl))D n)ty! n,,l] l]]y) n:)n 1ox P"3"1 ^*"*3520 4
                                                  .(02/10/t5 Dl)tc tr))3ln )Nl]) o!lu J'l]y) l))l)]v D))u-'lN "*""'"'9462 5

                n).1)5 n,,)-t ,D))Jt)l )Nt1) p9!\) ,QI/LO/15 gt)n -lflD J''lly) ni)l]y Itrv,
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                                                     .(06/to/15 -\ 02/to/15 0])D PvJ) tl"llyn) o))Jln n])vrn p9lul

                .106/LO/$ -1 07/10/tsDl)D np)'If,) D))!ln n)]P DglU l.lly) '')n )g1r prrplR'd"'d1572 7

                -1 05/to/15 ,04/l}tt5 Dl)n D))Jln )Nl)) pglu l1)y) lNDtrg lnN), ^'"o*2978 -8
                Dt)n 1f\D l'ttyt ZBl10/15 DPD ntuunnn n-tlPn lDln n)li?'llu)N l'lly ,06/10/15
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                nthyln nNJlnl i71) nn)-t) )! nyrtn I)VJ)N nf.1ly) 1t::) ltUr: Ilyg) ni'91&e""9017 t0
                                                                  .(06/lt/t5 DPn )N.)u,) l)) nl)N
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                Dt.|n 9"\n ni?)-tf n,,)l ,oI/10/15 61113 grnl)r5 n)) l'l)Jr)
                .n]!r)tD nrn)!'r)y)n n,'1T] 04/10115 ol)n o))3)n n9)l'| n"'l't p4/10/75 -1 0l/10/15
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                                                             .tt6/rl/t5 Dl)D 'lflD l-l ly) )n)ul-]) l|)yr l"p1                    t:
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                 Bl)t3 D))ftn nD)tn nr,'tl'l L5/n/L5 g])p 91131)r: n])                                ln) D))n )")'l              14

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                                                    {0.i. 10,'15 U'rl}t Ll}t:lt-. }-rf}rll't ni"ll llly} i."l-l) lif)r'Rd"*d-'t8-   Ii
                                                                                {)y}tl )1"1v'-lu') )!lvr 1'-\t,1 }"v-t """*ols')J I s

                                                       {06/l0rl5 grrrr n)tyl t"r,,tt l11y) ltD)u n}l)r.i -tp) ^*"*b7-r0 t9
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                                                       Q3/10/15 ltrt: n)tlt n"]-l l'lty) i-l))! rNlllu "l"tl-] ^*"''2542 2l
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                                    .,, ,1;!t

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                                                        .(0L/L0/t5 0t:n n)llt n,,t'I l'tl!) ))p )rrN -'l"D-l Rdacrod.6577 25

                                 .(A5/11/15 -\ tl/t}/15 Dt)n ni?1'rl nr,t't nf'll!r) r!)N 1r1y ):}16 p,,91"*"odi6 354 .26

                -\ t9/LA/ts ,l9/t}/\s ,t2170/15 ol)n np)'If n"1'l J"l)],) ))i'1N -ul1n 'lP! **"*"3485 Z7
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                                                          .rc9/fi/t5 Dt)n nnntn nyr y1lln J;lly) lyrtv nvrn p,,91 .ZB
                nylln 1"1]y] z7/10/15 Dl)nl l3110/15 o])n nnEln ]lyl nlln J]]y, lr]!1i7 )fN P,!r .29
                                                                .i.13/10/15 D't)D C')nlntn Dryl't)Nn lDtN) 'rv/p )y

                                                             .rct/tA/ l5 ol)n il1)ul! nlt'tln ll]lt) '1t11-1 )'111 't"J s")g .30

                                                                          .(15/10/15 DllE ))))) -llg)N J-t)y) lu)N )D]) l1

                                                                   .(n!r:nn )"1)f O)U|.1! ,,,,n!) '\rf'l))t-l )Nlngi l.tD l2
                                                                            .(;'ry)lnn )l'tf o')u15,)r'r!) n))) -1nu pq .13
                                                (2252/15 n.n ,'rlry) 'lnn jn n))N'lt), cl)Nl lbnl)3 N)n) Redactedl046 .14

                                                              .(2250/t5 n n ,r'Ny) irr') rnng )tul) otf R"d""t"d8869 .15

                                                               .(??.51/15 n.n,'l]Jy) tnN)., ))rf,,) TN)l 't)l R"d""t"d7710 .J6

                                                     (2255/$ n.n ,t]iy) n)N\,) tfN'l\Nt rn,t't FNBf Redact.dlgSS .)z

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                                         {njnf J'lit il'trl Dlutlx)))rn ltnr:t:n J}l-1\r) "'tI}!"' n)llll;-l 46
                                       (nl,)lrl;-l ))-T)l D)u-t!){))):n ltnutrn nltu) "p)"r1)1" n)'tltln    47



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                ,l
                                      rl 5 D l)D np)'lt) tlr):ut n):p lrtU N"lry r9ry7 )t,,D"l ^*""""63 Jt 48

                                           .06/09/15 Dt)D nnntu n)r] tr.l]n llly) )l!r'ly N'l\), P"3-l 49

                !"tn nif).It n,,1.11 3ll08/15 0.1)D D))sln np)5n n,'11 J]]y) ln) O))n )")'l o*'5117 50
                                                                                        .(06/09/15 6'l)D

                D)n]))Jnr)lrl),i )t/aB/$or)DD1)J'rinD)9nn"l'lllr),) lnr))1))ntllf,o"0""05782 51
                                                  .(04/lL/15 Dt)Dl 06/09/15 51:13 9"1;3 ni7)ll n"11l

                n:l)i{ nthylD nNJln) i7\l nDtl) )y nrrtn 'llvrtN'J"}1),} t)pt'lrx:n n"c}l ^""*9141 .52
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                   Exhibit 186
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                                               Prisoner Sala   Statement
 Prisoner no. 256371[.'|
 Prisoner Name: Samir Zuheir lbrahim Kusa     Document no.
 l,/onth Year                                 lD no.      Bank Name        Branch   Account no-     Salary




                                              Redacted




 11      2A2A Sanrir Zuheir lbrahim Kusa             1   700                                       2.474.00
 12      2A20 Samir Zuheir lbrahim Kusa              1 700                                         2.474.0A
 1       2021 Samir Zuheir lbrahim Kusa              1 700                                         2,074.00
 2       2021 Samir Zuheir lbrahim Kusa              1 700                                         2.074.00
 3       2021 Samir Zuheir lbrahim Kusa              1 700                                         2.074.AA
 4       2021 Samir Zuheir lbrahim Kusa              1 700                                         2.074.00
 5       2021 Samir Zuheir lbrahim Kusa              1 700                                         2.A74.00

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Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 67 of 96




                   Exhibit I87
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 68 of 96




             CONFIDENTIAL                                                                   SHATSKY-J DO184O-T



01-16-19 03:06 FROM - legal affairs   2411379     T-687    P0001/000s            F-968
OI-76-tg 13:31 FROM -ADDAMEER         022960446   T-030    P0001/0004            F-059



                        lsfael DefenSe FOfCeS             [Handwritten in Arabic:] security


The Military Court in Judea                               Case No.: 6gL1,lt6

Before Hon. Presiding Judge: Lieutenant Colonel EtiAdar [illegibte word in Arabic]

Before the Hon. Judge: Major Sebastian Otovsky344/20j.6

Before the Hon. Judge: Maior Lidor Drachman [handwritten in Arobic:] Decision [itlegible]
The Military Prosecution                               IRound stamp in Arabic]
                                                       The Palestinian National Authority
                                                       Department of Detainees and Ex-detainees
(represented by attorney Captain Ben Barr)
                                                       11.30.2019
                                                       Gen. Dir. of Legal Affairs
            _vs_                                       Reviewed
                                                       lndictments
[in Arabic:] Suhib Jobara Ahmod Faqih
The Defendant: Suhib Jabara Ahmad Faqih           Redacted6702
                                                                  / lsrael prison Service - present
(represented by Atty. Qawasmeh on behalf of Atty. Araj
                                                          - present)

Court stenographer: Elia Lavie

Translator: Sergeant Ayman Kasrawi


Date of hearing: 22 October 2018



                                            Proceedinss
The Court recognizes the Defendant.

The Defendant declares that he is represented by Atty. Qawasmeh on behalf of Atty. Araj.



The Parties: We do not object to the replacement of the panel.

The Military Prosecutor: No evidence for the purpose of sentencing.

The Attorney for the   Defense: No evidence for the purpose of sentencing.


            CONFIDENTIAL                                                                SHATSKY-J DO184O-T
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 69 of 96




               CONFIDENTIAL                                                                 SHATSKY-JD01841-T




01-16-19 03:06 FROM - legal affairs 2471379 T-687 P0002/0005 F-968
01-16-19 13:31 FROM -ADDAMEER 022960446 T-031 P0001/0004 F-059
                                           lsrael Defense Forces
The Military Court in Judea                                     Case No.: 68LLh6

Before Hon. Presiding Judge: Lieutenant Colonel EtiAdar

Before the Hon. Judge: Maior Sebastian Otovsky 344/2016

Before the Hon. Judge: Major Lidor Drachman

                                             [handwritten in Arobic:] Decision [iilegible]
The Military Prosecution                                        lRound stamp in Arabic]
                                                                The Palestinian National Authority
(represented by attorney Captain Ben Barr)                      Department of Detainees and Ex-detainees
                                                                11.30.2019

     -vs-                                                       Gen. Dir. of Legal Affairs
                                                                Reviewed
                                                                lndictments
[in Arabic:] Suhib Jabora Ahmad Faqih
                                                        Redacted6To2
The Defendant: Suhib Jabara Ahmad     Faqih                            / lsrael Prison Service - Present
(represented by Atty. Qawasmeh on behalf of Atty. Araj - Present)

Court stenographer: Elia Lavie

Translator: Sergeant Ayman Kasrawi

Date of hearing: 22 October 2018

                                                     Proceedings

The Court recognizes the Defendant'

The Defendant declares that he is represented by Atty. Qawasmeh on behalf of Atty. Araj.

The Parties: We do not object to the replacement of the panel.

The Military   Prosecutor: No evidence for the purpose of sentencing'
The Attorney for the Defense: No evidence for the purpose of sentencing.

The Military Prosecutor's Summation: As part of the plea bargain, I request that an agreed sentence of 16 years'
                 actual imprisonment be imposed, plus, for each offense in the conviction, the deterrent of a
                 suspended sentence according to the discretion of the Court, and lastly a fine of ru10,000 or
                 alternatively 10 months' imprisonment. The grounds for the plea bargain are the Defendant's clean
                 record, his admission of guilt, and the great savings of time for the Court. Also considered was the
                 nature of the complicity, which indicates that the Defendant belonged to the outer circle of those
                 involved in the offense. We also took into consideration that the conviction was for an offense of
                 complicity. ln weighing the fact that the primary terrorist is the Defendant's brother, we considered
                 the family ties and the killing of the primary terrorist. ln answer to the Court's question, those
                 injured in the offense have been informed of the plea bargain's details'

The Defense Attorney's Summation: I endorse the words of my colleague the prosecutor and I ask that the plea
               bargain be honored. Granted, the Defendant's deeds meet the legal definition of complicity; but in
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 70 of 96




                   deliberations regarding sentencing, certainly we must consider the nature of the complicity and the
                   degree to which the complicity contributed to the completion of the offense. ln this case, to our
                   understanding, the complicity did not significantly contribute to bringing the offense to completion.
                   I ask that the plea bargain be honored.

                  The Defendant, in his final statement: I have nothing to add.

                                                                               I
CONFIDENTIAL                                                                           SHATSKYJDOl84l-T



[Translator's note: There has been a confusion in the order of the pages in the original text. JDO1843 should come before JD01g42]
 Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 71 of 96




             CONFIDENTIAL                                                         SHATSKYJ D01842-T

01-16-19 03:06 FROM - legal affairs   24LT319       T-687   Poo03/0005    F-968

01-16-19 13:31 FROM - ADDAMEER        022960446     T-031   P0002/0004    T-059



      Date: 22 October      2018 The Militarv Court in Judea                       Case No.: 5811/15

The parties have presented a plea bargain to us asking that we sentence the Defendant to an agreed term
of L6 years' actual imprisonment, plus, for each offense in the conviction, the deterrent of a suspended
sentence according to the discretion of the Court, and lastly a fine of ru10,000 or alternatively 10 months'
imprisonment.


As grounds for the plea bargain, the parties cited the Defendant's clean record, his admission of guilt, and
the great savings of time for the Court. lt was also mentioned before us that the parties had considered
the Defendant's manner of participation in the offense to place him in the outer circle of those involved'
The Prosecution also took into consideration that the primary terrorist was the Defendant's brother. ln
answerto a question from the Court, the Prosecution added that those injured in the offense have been
informed of the plea bargain's details, The Defense asked to point out that the Defendant's deeds did not
in themselves actually contribute significantly to bringing the offense to completion and perpetration.

As we set about considering the plea bargain presented by the parties, we paid attention to the fact that
the offenses of which the Defendant has been convicted involve complicity in the perpetration of the most
severe offense in the law book, the offense of lntentionally causing death. By his deeds, which aided in
bringing death to Rabbi Mark of blessed memory and injury to his family, the Defendant severely violated
a set of values protected by society, foremost among them the supreme value sanctifying life, along with
the necessity of preserving the public's safety and welfare. ln light of the grim consequences of the terror
attack, the degree to which those values have been violated is obviously severe and extreme.



By his deeds, the Defendant provided both practical and moral assistance to his brother, the perpetrator
of the terror attack. Thus, according to the facts in the indictment to which the Defendant has confessed,
the Defendant was made aware of his brother's malevolent plan at an early stage, and between then and
the time of the terror attack's perpetration, he assented to his brother's request to purchase equipment
for him and to hide weaponry for him. After the terror attack was perpetrated, the Defendant helped his
brother by supplying equipment and by bringing him to a hiding place, and moreover the Defendant even
suggested hiding places which he believed would be suitable and were located in a good place of
concealment. The ideological principle underlying the deeds of the principal perpetrator, who told the
Defendant that his intent was to perpetrate a shooting terror attack in order to die as a "holy martyr," also
weighs against the Defendant, Sadly, the harm done by the deeds of the Defendant and of the
perpetrators of the terror attack is severe, painful, and irreversible: the loss of human life.

Examination of the prevailing policy for the offense of lntentionally causing death indicates that for
reasons of recompense, abhorrence of the deeds, and the necessity of protecting the public welfare, such
offenses incur severe and deterrent prison sentences, and further suspended sentences as well, The
Military Court of Appeals addressed the matter of punishment for this offense and it stated that
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         "... The practice of ruling in the Region has seen fit to establish a scale within the offense of
         complicity in causing death intentionally, and in the appropriate punishments. The
         punishments are scaled according to the degree of involvement by the defendant in the
         deeds that caused death, and according to the number of victims. The         punishments
         thus may vary from a few years' imprisonment to life imprisonment... Regarding the scaling
         of punishments for complicity in murder, the court system in the Region follows the
         example of lsraeli rulings, because it is a matter of court systems and death, governed by
         similar values and with similar principles of punishment for deeds of

                                               3

        CONFIDENTIAL                                                        SHATSKY-J D01842-T
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 73 of 96




             CONFIDENTIAL                                                               SHATSKY{ D01843-T




01-16-19 03:06 FROM - legal affairs    24rr3t9         T-687   P0004/0o0s       F-968

01-16-19 13:31 FROM - ADDAMEER         022960446       T-031   P0oo3/0004       T-031



      Date: 22 October      2018 The Militarv Court in Judea                             Case No.: 581U15

Before Hon. Presiding Judge: Lieutenant Colonel EtiAdar

Before the Hon. Judge: Major Sebastian Otovsky

Before the Hon. Judge: Major Lidor Drachman
The Military Prosecution

(represented by attorney Captain Ben       Barr)                                 [illegible word in Arabic]
                                                       RedactedSTO2
The Defendant: Suhib Jabara Ahmad Faqih                               / lsrael Prison Service - Present
(represented by Atty. Qawasmeh on behalf of Atty. Araj - Present)


                                                    Sentencing

 The Defendant has been convicted, in accordance with his confession in the context of a plea bargain, to a series of
 serious offenses, the foremost being complicity in lntentionally causing the death of Rabbi Michael Mark of
 blessed memory and in attempting to bring death to his wife and two children.

 According to the indictment to which the Defendant has confessed, during May 2016 Mohamed Faqih, the
 Defendant's brother, told of his intention to commit a terror attack. Mohamed Faqih showed a handgun and a
 Kalashnikov rifle to the Defendant and asked him to help keep the weapons safe by hiding them in his home. The
 Defendant assented to his brother's request and hid the weapons in his home for some time. Roughly ten days
 before the date of the terror attack, the Defendant bought an IDF military uniform for his brother, at his request,
 and with that uniform Mohamed Faqih would enter lsraeli communities and collect intelligence for the terror
 attack. On the day of the terror attack, the Defendant accompanied his brother in his car and brought him, at his
 request, a bag containing elbow guards. On that same occasion, the Defendant noticed that his brother had lsraeli
 license plates, which he had last attached prior to the terror attack in order not to arouse suspicion. On l July
 2016, Mohamed Faqih set out together with Mohamed Al-Amayreh toward Highway 60, where they perpetrated a
 shooting terror attack. Together with Mohamed Al-Amayreh, Mohamed Faqih fired at highway 60, committing a
 terror attack in the course of which Mohamed Faqih fired approximately 25 bullets at an lsraeli vehicle and it
 flipped over together with its occupants. That terror attack brought death to Rabbi Michael Mark of blessed
 memory and injured the rest of the vehicle's occupants: Chava Mark and the minors T. Mark and P. Mark.

 On that same day, after the terror attack, Mohamed Faqih told the Defendant that he had perpetrated the said
 terror attack. Mohamed Faqih asked the Defendant to go to his home and bring his bag. The Defendant did so.
  Mohamed Faqih announced that he intended to hide in order to escape the security forces. Accordingly, the
  Defendant took up his car keys and gave them to his brother in order to help him escape from the Region with the
  bag that contained his clothing and his weaponry. Later, the Defendant suggested to his bother that he hide his
  belongings in an abandoned building, and he acceded to a request from the latter that he drive him back to the
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 74 of 96




 village' ln addition, the Defendant purchased food for his brother and even offered him lodgings at his home,
 although the latter declined for fear that he would be arrested.

 on the basis of those facts, the Defendant was convicted of complicity in lntentionally causing death, of three
 counts of complicity in attempting to intentionally cause death, and of an offense of possessing weaponry. ln
 addition, the Defendant was convicted, in accordance with his confession, of the offense of membership and
 activity in an unlawful association in consequence of his membership in a military cell under the Hamas
 organization during the period beginning in late 2015 and continuing until his arrest.


                                                              2

             CONFIDENTIAL                                                         SHATSKY.JDO1843-T
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 75 of 96




CONFIDENTIAL                                                              SHATSKYJ D01844-T




01-16-19 03:06 FROM - legal affairs     2411319         T-687       P000s/000s    F-968

01-16-19 13:31 FROM - ADDAMEER          022960446       T-031       P0004/0004    T-031



       Date: 22 October        2018 The Militarv Court in Judea                           Case No.: 5811/16

               similar severity. And indeed the Military Court of Appeals has not been hasty to impose life
               sentences for complicity in intentionally causing death but has instituted a scaling of punishments...
               The rulings in the Region show a broad range of levels of punishment, from a few years'
               imprisonment to life imprisonment." (Case I342/O3, The Military Prosecutor vs lyad Abayat)
               (Published in Nevo,28 February 2011)

lndeed the range of sentencing for those offenses is broad, paralleling the nature of the complicity and the degree
of the defendant's closeness to the inner circle of the offense's perpetrators. Thus the appropriate punishment is
determined according to the particular circumstances of each individual case and in keeping with the scope of the
involvement in planning and perpetrating the offense, so as to preserve a reasonable scaling of punishment among
the various people involved.



As we set about examining the plea bargain concluded by the parties, we considered on the one hand the severity of
the offenses in which the Defendant was complicit and the severe consequences of the destruction of human life
and wounding of additional victims, and on the other hand we took into account that the Defendant was positioned
in the outer circle of those involved in the offense and that some of the deeds of which he has been convicted were
by way of help to his fleeing brother after the offense was committed.

ln these circumstances, we have found that the proposed plea bargain falls within the range of suitable punishment,
and therefore we have decided not to diverge from it'

Accordingly, we impose the following punishments on the Defendant:

A. 16 years' imprisonment, to be served in actuality, starting from the day of his arrest.
B. Three (3) years' imprisonment, suspended on condition that during five (5) years from the date of his release,
   the Defendant does not commit any offense relating to intentionally causing death, attempting to commit such
   an offence, or complicity in either committing or attempting to commit such an offense.
C. 18 months' imprisonment, suspended on condition that during 5 years from the date of his release, the
   Defendant does not commit any offense relating to membership and activity in an unlawful association or any
   offense that involves an element of handling war materiel.
D. A monetary fine of 10,000 shekels, or 10 months' imprisonment instead. The fine must be paid on or before the
   date ofthe Defendant's release from prison, and as a condition for his release. Coupon no.: 0018113637,

The sentence may be appealed within 30 days.

lssued and proclaimed on this 22nd day of October 2018 in public and in the presence of the parties

  [handwritten signature]             [handwritten signature] [handwritten signature]
        Judge                         PresidingJudge                   Judge

                                                                4

               CONFIDENTIAL                                                               SHATSKYJDO1844-T
     Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 76 of 96


    CONFIDENTIAL                                                                                                       SHATSKY-JD01847-T

     IEnglish] State of Palestine                                                                        [Arabic] State of Palestine
     Ministry of Detainees & Ex-detainees Affairs                 [Emblem of the             Ministry of Detainees & Ex-detainees Affairs
    Gen. Dep. Detainees & Ex-detainees                         Palestinian Authorityl
                                                                                                    Gen. Dep, Detainees & Ex-detainees


3, Current Arrest lnformation:

    Arrest date:         7/412016                                                   Type of arrest:           D SecuriW        tr Civilian
    Arrested from:       fl Home ! Crossi ng tr Other                               Current prison:
    Arrest status:       D Detained        tr Sentenced            tr Administrative                  E Other
    ln case of life      Dav          Month      Year              Expected release date              Dav         Month      Year
    sentence                                                       according to verdict:
    according to
    rcRc
    Certificate
    Sentence date:                                                 Release date:
    Notes:


4' lnformation concerning previous arrests: Previous arrests: (Only those attested to by ICRC certificates)
         No.      Arrest type        Arrest Date      Release date            Prison                  Arrest period                 Notes
               (security/civilian)                                                            Dav         Month     Year
     1.
     2.
     3.
     4.
     5.
     6.
     7
     8.
     9
     10
     1,!



5. Health Condition (of the prisoner\ex-prisoner)

    Do you suffer any illnesses?       EYes lNo                           The illnesses:
    Date illness began
    Do you suffer from disability      trYes trNo                         Type of disability    /       ! Chronic tr Temporary
    / handican?                                                           handicap
    Disability/handicap                    %                              Disability attested to        trYes lNo
    percentage                                                            by a report:
    Medical report date:                                                  lssued by:
    Notes


3




CONFIDENTIAL                                                                                                          SHATSKY-JD01847-T
     Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 77 of 96


CONFIDENTIAL                                                                                            SHATSKYJDO1848.T


 lEnglish] State of Palestine                                                              [Arabic] State of Palestine
 Ministry of Detainees & Ex-detainees Affairs              lEmblem of the         Ministry of Detainees & Ex-detainees Affairs
                                                        Palestinian Authorityl
 Gen. Dep. Detainees & Ex-detainees                                                   Gen. Dep. Detainees & Ex-detainees



6. lnformation Concerning the Beneficiaries of the Prisoner/ex-Prisoner's Allowance:

A. First Beneficiary:

 Name (First BeneficiarY):       Yusra Hasan Al-Faqih                                   Relationship:          Mother
 Document Type:                                                                         Doc. No.:
 Tel. No,:                                                                              CellularTel. No.
 Governorate:                    Hebron                                                 Complex:
 Bank:                           Redacted                                               Branch                 Red acted

 Account No.:
 ln Case the Sum is              No.:                              Percentage:                 %
 Divided:


B. Second Beneficiary (lf Exists):

 Name (First Beneficiary):                                                              Relationship
 DocumentTyper                                                                          Doc. No.:
 Tel. No.:                                                                              CellularTel. No.:
 Governorate:                                                                           Complexl
 Bank:                                                                                  Branch:
 Account No.:                                                                                       Current account in shekels
                                                                                                    onlv
                                                                                               o/
 ln Case the Sum is              No.:                               Percentage:                /o

 Divided:


 Applicant's Notes:
    Confirmation:            I the undersigned   confirm and testify that all of the information provided in this application
                             is correct and I take res           for it
    Applicant's Signature:


4



CONFIDENTIAL                                                                                             SHATSKY-JD01848-T
          Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 78 of 96




                                   CONFIDENTIAL                                                            SHATSKY-JD01851-T




                                in the Military Court                                 Court File: 16/
                                in Judea                                              Prosecutio n File: 2657 / 16
                                Before a Panel                                        Police File: 288060/16 (Ashkelon)

                                                                     ln the case between
                                The Militarv Prosecutor

                               IHandwritten in Arabic:] Suhrb                                                   The Plaintiff

                                                                                                          The Military Court in Judea
                                                               vs
                                                                                                          Received by:8h6
                               Suhib Jabara Ahmad Faqih
                                                                                                          on [illegible]
                                        Redacted6702,
                               lD No.                   born on Redacted 1995, resident of Dura
                                                                                                                14:50
                               (detained since July 4, 2015)
lround stamp in Arabicj
PLO
Detainees & Ex-Detainees
                                                                                                           the Defendant
D€partment
sept. 27, 2016
General Department for Legal                            lndiCtmgnt [handwritten Arabic:] indictment
Affairs
Checked
lndiclments                    The abovenamed Defendant is herebv indicted for committing the followins
                                           offenses:

                               First Count:

                               Descriptionof theoffense: Membership and activity in an unlawful association,
                                                   an offense pursuant to regulations 85(1Xa) of the Defense
                                                   (Emergency) Regulations, 1945, and Section 199 c(a) of the Security
                                                   Provisions (Judea and Samaria) Order (No. t6SI),5770-2009.

                               Details ofthe offense:The defendant, during the period that began at the end of the
                                              month of November, 2015, and ended with the day he was arrested or
                                              thereabouts, was a member or was active as a member in an unlawful
                                              association, i.e.:
                                                    1. ln the month of November 2015 or thereabouts, at Abu Dis
                                                         University or thereabouts, Salem Mousa Abdel Majid Shadid
                                                         (henceforth: "Salem") and lzz A-Din Sa'id Mohamed Talahmeh
                                                         (henceforth: lzz A-Din) established a military cell for the Hamas
                                                         organization.
                                                   2. While in this cell, Salem and lzz A-Din contacted Mohamed Adib
                                                         Ahmed al-Qiq (henceforth: "Mohamed"), whom lzz A-Din was
                                                         acquainted with as a former officer in the lslamic Bloc
                                                      organization at , a number of times, in order to receive guidance
                                                      and funding for the cell so that weapons could be purchased.
                                                   3. After Mohamed was arrested on Nov. IS, 202t, Salem and lzz A-
                                                      Din decided to recruit others to the military cell. Accordingly,
                                                      Salem contacted the'defendant and proposed that he join the
                                                      cell. ln order to persuade him, Salem told the defendant that the
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 79 of 96




                             military cell already had funding and weapons, and the defendant
                             agreed to join the cell.
                        4.   Salem recruited Shadad Hamoudah Mohamed Abu Qarandal
                             (henceforth: "Shadad") and Ali Mohamed Ali Rajoub (henceforth:
                             "Ali").
                        5. Moreover, at a later date, Salem asked each of the members of
                            the cell to begin physical training in order to be ready for action.
                            Salem also gave the defendant, Suhib, and lzz A-Din, separately, a
                            flash drive with information he had downloaded from the
                            internet on the Hamas organiation and its military wing,
                            connected to investigations performed by lsraeli security entities,
                            in order to strengthen their connection to the cell.
                        6. The defendant began physical training, and read the information
                            that was on the flash drive. Later, he destroyed the drive.
                        7 . By performing the aforementioned action, the defendant became
                             a member in an unlawful association,

         CONFIDENTIAL                                                   SHATSKY-J D01851-T
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 80 of 96




                 CONFIDENTIAL                                                    SHATSKY-JD01852-T



                  Second Count:

                   Nature ofthe offense:conspiracy to intentionally cause death, an offense pursuant
                                 to Sections 209(a) and 199e of the Security Provisions [Consolidated
                                 Versionl (Judea and Samaria) (No. 1651), 5770-2009.

                  Detailsof theOffense: Details of the Offense: The above-named Defendant, in the
                                 region, intentionally caused the death of a person, i.e.:

                                  1. ln May, 2016, the defendant met with his brother, Mohamed
                                      Jabara Ahmed Al-Faqih (henceforth: "Faqih"), who told him that
                                      he had a house and a wife, and that all he had left was to meet
                                      God.
                                  2. About ten days before the month of Ramadan, the defendant set
                                      out to the Hebron market with Faqih, where the latter bought
                                     several items, including kafiyyahs, knee guards, elbow guards,
                                     and ski masks to cover their faces. Moreover, Fakih asked the
                                     defendant to buy him two uniforms, and the defendant agreed.
                                  3. Thereabouts, Faqih presented the defendant with a 14 mm.
                                     pistol, a Kalashnikov rifle and 5 loaded magazines. Faqih told the
                                     defendant that he had another 7 weapons.
                                  4. Furthermore, at that time, Faqih told the defendant that he
                                     planned to carry out an attack and die "in Martyrdom". Faqih
                                     asked the defendant to take care of his wife and return her to
                                     Dura after he had carried out the attack.
                                  5. Afterwards, when they returned, Faqih told the defendant that
                                     the time to carry out the attack was drawing near, but the
                                     leaders of Al-Qassam Brigades asked him to postpone the time of
                                     the attacb because a war was expected between Gaza and lsrael.
                                  6. Faqih asked the defendant to keep the weapons, and showed him
                                     where to conceal them, if the army were to arrive. The defendant
                                     concealed the weapon in the third floor of him house, which was
                                     under construction. The defendant, along with Faqih, would
                                     maintain the weapons, such that the defendant would unload the
                                     weapons and Faqih would clean them.
                                  7. During the time that the weapons were in the defendant
   Iround stamp in Arabic]           possession, Faqih would take the weapons from the defendant
   PLO
   Detainees & Ex-Detain6es          during the day, and return them at night.
   Department
   Sept. 27, 2016
                                  8. Faqih asked the defendant to go to his home and collect gold and
   General Department for Legal       pictures before the army took them, after he carried out the
   Affairs
   Checked                            attack, and the defendant agreed.
   lndictments                    9. About ten days before the attack was carried out, the defendant
                                      bought two IDF uniforms for Faqih, as he had agreed to do, as
                                      stated in subclause 2. Faqih would wear the uniforms that the
                                      defendant purchased when he would enter lsraeli settlements.
                                      While Faqih was disguised as an IDF soldier, another person who
                                      was with him was disguised as a settler, and this is how they
                                      operated in order to gather intelligence before the attack.
                                  10. About three days before the attack was carried out, Faqih
                                      notified the defendant that in light of a number of recent attacks
Case 1:18-cv-12355-MKV-DCF Document 177-29 Filed 05/16/22 Page 81 of 96




                            and the fear that he will be arrested before he carries out the
                            attack, he had received approval to carry out the attack.
                        11. Faqih told the defendant that he had started reconnoitering in
                           the area, walking around the settlements and gathering
                            intelligence, so that he could locate a target for the attack.
                        12. On July I,20t6, the defendant noticed Faqih, who was wearing
                            black army pants and army boots. Faqih told the defendant that
                            he would carry out the attack on that day. The defendant
                            accompanied Faqih to his car, a Hyundai vehicle' Faqih asked the
                            defendant to bring him a bag from the house containing elbow
                            guards, and the former did what he had asked. The defendant
                            noticed that Faqih had brought along lsraeli license plates.
                        13. That same day, Faqih set out, along with Mohamed Al-Amayreh,
                            to carry out a shooting attack against lsraeli targets, in order to
                            murder lsraelis.
                        14. The two met at Salah A-Din school, where they replace's Faqih's
                            "Hyundai" vehicle's Palestinian license plates with lsraeli license
                            plates, so that their vehicle would not arouse suspicion, and so
                            that the military would not stop them.



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                                     15. Afterwards, the two made their way toward Route 60, with two
                                         Kalashnikov rifles, and sought out an lsraeli vehicle that they
                                         could shoot at.
                                     16. At the same time, a grey Toyota vehicle was making its way down
                                         Route 50 from Otniel to Jersualem, with Rabbi Michael Mark, of
                                         blessed memory, his wife and two of their children (henceforth:
                                         "the Toyota Vehicle" and/or "the lsraeli vehicle").
                                     17. Mohamed Al-Amayreh and Faqih noticed the Toyota Vehicle with
                                         its lsraeli license plates, which was driving in front of them
                                         toward Jerusalem. The two drove behind the Toyota vehicle for
                                         several minutes. Mohamed Al-Amayreh drew close to the Toyota
                                         vehicle and accelerated.
                                     18. At this point, Faqih took one of the Kalashnikov rifles they had
                                         with them in the vehicle, cocked it and prepared it for firing.
                                     19. Faqih asked Mohamed Al-Amayreh to pass the lsraeli Vehicle,
                                         and as such, Mohamed Al-Amayreh accelerated and passed the
                                         lsraeli Vehicle on the left, while driving down the opposite lane.
                                     20. When they were adjacent to the lsraeli Vehicle, Faqih held the
                                         weapon out of the vehicle's window and aimed at the lsraeli
                                         vehicle.
                                     21. When the two were only 2 meters away from the lsraeli Vehicle,
                                         Faqih began massively firing at it, hitting the lsraeli Vehicle with
                                         about 25 bullets, and the lsraeli vehicle overturned, along with its
                                         passengers.
                                     22. After several seconds of constant fire, the two passed the lsraeli
                                         Vehicle and began moving away at it. At a distance of about 20
                                         meters, Mohamed Al-Amayreh turned the car around, back in the
                                         direction of the lsraeli Vehicle, noticing that the lsraeli Vehicle
                                         had overturned.
                                     23. At that point, Faqih left the Hyundai Vehicle and made his way
                                         toward the lsraeli Vehicle, holding the Kalashnikov rifle, in order
                                         to continue firing at the passengers of the vehicle and ensure that
                                         they were dead.
                                     24. Once he was at the lsraeli Vehicle, Faqih shot another round at its
                                         passengers, but was forced to abort at the orders of Mohamed
                                         Al-Amayreh, who noticed that additional vehicles were
                                         approaching the area.
                                     25, Faqih returned to the vehicle, and the two made their way back
lround stamp in Arabic]                  to Dura.
PLO
Detainees & Ex-Detainees             26. By doing the aforementioned, Faqih and Mohamed Al-Amayreh
Department
Sept. 27, 2016
                                         had intentionally caused the death of Michael Mark, of blessed
General Department for Legal             memory who drove the vehicle. Five bullets hit his body, and
Affairs
Checked                                  one hit his head. They also wounded the passengers of the
                                         vehicle.
                                     27. During their drive back to Dura, Faqih told Mohamed Al-Amayreh
                                         that there were small children in the vehicle they had shot at, but
                                         he didn't manage to shoot them.
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                        28. Moreover, Faqih told Mohamed Al-AmayrehAl-Amayreh of his
                            desire to carry out additional shooting attacks at lsraeli targets,
                            after he is designated as a suspect, and even told him where he
                            could find him after he was designated as such.
                        29. When the two reached Salah A-Din school, they replaced the
                            vehicle's license plates with Palestinian license plates, and
                            disposed of the lsraeli license plates.
                        30. Afterwards, the two took their leave from each other' Each of
                            them was carrying one of the Kalashnikov rifles that they had
                            with them during the attack.
                        31. On the day after the attack was carried out, the defendant
                            noticed Faqih driving a Hyundai vehicle. Faqih motioned to the
                            defendant to drive behind him, and the latter drove behind him
                            in his "Peugot" vehicle toward Ghanaim. There, Faqih told the
                            defendant that he had carried out a shooting attack, during which
                            he fired at a settler and his family, and that Faqih's vehicle was hit
                            during the attack. Also,




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                                       Faqih told the defendant that he wanted to shoot at another car,
                                       but he was forced to stop shooting because a palestinian vehicle
                                       was approaching, and he decided to flee the area.



                                   32. Faqih asked the defendant to go to his home and bring him his
                                        bag, and the defendant did so, but on his way back to Ghanaim,
  Iround stamp in Arabic]               Faqih called the defendant and asked him to go to the home of
  PLO
  Detainees & Ex-Detainees             Abu Hamzah Khaled Faqih (henceforth: "Hamza"). When he
  Department                           reached Hamza's home, the defendant noticed Faqih sitting there
  Sept. 27, 2016
  General Department for Legal         with workers next to him. Faqih ordered the defendant not to
  Affairs
  Checked                              take the bag down so that the workers wouldn't noticed it. Faqih
                                       showed the defendant the news reports on the shooting attack
                                       on a mobile phone, and afterwards, the defendant returned
                                       home.
                                   33. That very day, Faqih contacted Alaa Raed Saleh Zughayer
                                       (henceforth: "Alaa"), asking him to help fix a hole in the Hyundai
                                       Vehicle that was caused by a bullet that was fired, and the latter
                                       agreed.
                                   34. Moreover, Faqih told Alaa that he intended to hide out in a
                                        building that was under construction, but Alaa suggested to Faqih
                                       that he spend the night at the university's student dorms, which
                                       are in Hebron's Al-Jami'a neighborhood, and the latter agreed.
                                   35. The following day, Alaa assisted Faqih in his attempts to evade
                                       security forces, by taking him and his belongings from place to
                                       place. lnter alia, Faqih drove him to his parents' home. Upon
                                       arriving at his parents' home, the defendant got out, took Faqih's
                                       bag out of Alaa's car, and placed it in his peugot vehicle.
                                   36. After hearing the army entering the village, and fearing that the
                                       army would arrest Faqih, Faqih asked the defendant for the keys
                                       to his car, and the defendant gave the car keys to Faqih so that
                                       the latter could flee from the area. Faqih took the defendant's
                                       car, with his bag, containing his clothes and weapons, in his
                                       possession.
                                   37. ln the evening, Faqih returned to the defendant,s home, and
                                       joined for the breaking the fast meal.
                                   38. After the meal, the defendant headed out in his vehicle, along
                                       with Faqih, with his bag and his weapon. Faqih told the
                                       defendant that he was interested in concealing his bags. The
                                       defendant suggested to Faqih to conceal them in an abandoned
                                       house in the area between Ghanaim and Wadi Dor. The
                                       Defendant chose this place because he had thought that it was
                                       suitable for someone interested in hiding out and concealing
                                       equipment. Faqih agreed to the defendant's suggestion, took his
                                       bag and weapon, and exited the vehicle. The two agreed that
                                      they would meet later, at Ayed Faqih's home.
                                   39. Later, the two met at Ayed Faqih's home. Faqih asked the
                                       defendant to drive him back to the village, and the defendant
                                       agreed. During their drive, Faqih made several phone calls, but
                                       they weren't answered. Faqih told the defendant that he
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                             intended to carry out another attack and die the death of
                             "Martyrdom". At Faqih's behest, he defendant bought him food.
                         40. The defendant suggested to Faqih that he sleep at his home, but
                             the latter refused, fearing that they would come to their house
                             and they would arrest him. The defendant took Faqih back to the
                             abandoned house.
                         41. By performing the aforementioned act, the defendant assisted in
                             intentionally causing the death of Rabbi Michael Mark of blessed
                              memory.


         Third Count:
         Nature of the Offense: Aiding and abetting an attempt to intentionally cause death,
                        and offense pursuant to Sections 198, 209(a) and 199e of the Security
                        Provisions [Consolidated Version] (Judea and Samaria) (No. 1651),
                        5770-2009.

         Details of the Offense: The aforementioned defendant, in the Region, tried to
                        intentionally cause the death of another person, i.e.: the said
                        defendant, at the time and period stated in the second count of the
                        indictment, by performing what is stated in the second count of the
                        indictment, was an accessory to the attempt to intentionally cause the
                        death of Chava Mark.




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          Fourth Count:
          Nature of the offense: Aiding and abetting an attempt to intentionally cause death,
                          and offense pursuant to Sections 198, 209(a) and 199e of the Security
                          Provisions [Consolidated Version] (Judea and Samaria) (No. 1651),
                          5770-2009.
          Detailsof theoffense: The said defendant, in the Region, attempted to intentionally
                         cause the death of another person, i.e.: the said defendant, at the time
                         and period stated in the second count of the indictment, by performing
                         what is stated in the second count of the indictment, was an accessory
                         to the attempt to intentionally cause the death of T. Mark.


          Fifth Count:
          Nature of the offense: Aiding and abetting an attempt to intentionally cause death,
                          and offense pursuant to Sections 198, 209(a) and 199e of the Security
                          Provisions [Consolidated Version] (Judea and Samaria) (No. 1651),
                          5770-2009.
          Details of the offense: The said defendant, in the Region, attempted to intentionally
                           cause the death of another person, i.e.: the said defendant, at the time
                          and period stated in the second count of the indictment, by performing
                          what is stated in the second count of the indictment, was an accessory
                          to the attempt to intentionally cause the death of p. Mark.


          Sixth Count:

          NatureoftheOffense: Carrying, possessing and producing weapons, an offense
                        under Sections 230(b) and 199e of the Security provisions
                          [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-2009.
          Details of the offense: The said defendant, at the times and places stated in the first
                           count ofthe indictment, in the Region, carried, possessed or produced
                           a weapon, without a permit certificate from the military commander or
                           on his behalf, or not in accordance with the conditions of the permit
                           certificate, i.e.:
                          To intentionally cause the death of another, i.e.: at the times and
                          places stated above, and in doing what was stated in clauses 6-7 of the
                          second count of the indictment. the defendant had possessed a
                          weapon, without a permit certificate from the military commander.


         Witnesses for the Prosecution:

             7. SFC Yosef Mashiach, Personal lD No. '^'"""7743, Ashkelon (who took the
                 defendant's statements on July 5,2016, July 11, 2016, July t8, 2016, and July
                 79,2016.
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            2. Sergeant Major Benny Gavriel , Personal lD No. """""2867, Hebron (prepared the
               summary forensic report and photo board from July 3, 2016 and July 11, 16
               (chain of exhibits).
                                                     *"'"'"02193,
            3. First Sergeant Eli Barsheshet, lD No.              Hebron (prepared the forensic
               investigation summary and   photo  board     from  July 3, 2016 and July It' 2016
               (chain of exhibits)
                                                      **""'"07958,
            4. Sergeant Major Malul Hillel, lD No.                 Hebron (prepared the action
               report on JulY 10, 2016).
            5. lnspector Yesh'el Ben chamo, lD no. "*"""7034, Hebron (submitted visit report
                from July 3, 2016)
            6. Superintendent Ofer Shalush, lD no.^""'5572, Forensics.
            7. Padia Mark (details in the prosecution file)
            8. Ma'amun Hija (details in the prosecution file)
            9. Jihad Hija (details in the prosecution file)
            10. lslam Abdul Hamid Bad ( details in the prosecution file)
            11. Alaa Raed Saleh Zughayer, lD No.R"d""t"d8696
            12. suhibJabara Ahmad Faqih, lD No.R"du"t"d6702
            13. Mouad Khaled Ahmed Faqih lD No.R"du"r"d7122
                                                             R"dud"d6427
            14. Mohamed Yousuf Mohamed Barwish, lD No.
            15. Taghrid Jabara Ahmed Faqih, lD No.*"du""d3536
                                                         R"d""t"d2770
            16. Salem Mousa Abdel Majid Shadid, lD No.
                                                           R"dud"d5197
            t7. lzz A-DinSa'id Mohamed Talahmeh, lD No.
                                               R"d""t"d3833'
            18. Ali Mohamed Ali Rajoub, lD No.
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              19. Expert opinion by yair Dalber,
              20. Expert opinion by Avi Kaufmann.
              21. Expert opinion by Prof. Uzi Motero.



              Exhibits:

              1. Toyota vehicle, exhibit number 001g9337
              2. 6 bullet particles, exhibit number 00516497
              3. Bullet from the victim's head, number 0273Lg77
              4. 20 bullet particles, exhibit number 02091557
              5. Kalashnikov rifle (tD No. 2108787), exhibit number 0510392J
              5. Hyundai vehicle, exhibit number 0510395J.
              7. Peugeot car




                                                1st Lieutenant Meital Reihani

                                                Military Prosecutor




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             From:         HEBRAN                                                       lD NO. Redacted6702                 bq

             Was arrested by the lsraeli Authorilies on (dd/mm/yyyy): 04.07


             He is to date: Sentenced

             Length of sentence / administrative period: 15.,1,1.29 period in years, months,




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               .ru!g)v/ llcl311fl ll)grnn't nlJv,N:l lnNnh ,butgln 5v tplh tllyr llpnn nN lPt5tl b)rlln                  6

               )t!nr ttrn n1)llrn nuynr oll/Mil )u tFln r) nlllyil nN lbpu Df'lltir tf, lllrDs pll 1lp                   7

               nyrtnn .OU,Nln ly rrnN nrn llfrtyn llsnn t) n!,rJln ilrPt, 'tll, .br)]l},Dn ltr t)lJnn                    I
               l, llri) nu,rrtt.fl)lnfl .llpnn rulst b!r)lltD nlr:yil t!,lt) rf, ,ullrrtn nrl nrNu, il$ruln              I
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               y$/1ln liliy, )tl'll1yng 1r! rlWl l)n! fgtl'tsn l)iJfly ltytbn 1lgn nN )tPU) tlxtrr                       l2
               IF11t nlrfy 1p1 ,prplfii't 19p1p lfiIr n'lmnn nlflltn ylJrr,
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               ,lnn9urz!
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               I?rnw r1n ,yuun ,9f lllgtpn lullNlln ntll .'lttlrul ll3fJn In\'tl Sy'tttrul l1tlr 6)
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                                                                        .n'tlnnl n\rF nrN Or)')yf, n!,rlon               l7
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               .nryjybit ithll lnr y1!)Nllhil i1nl1 lll ,ptt)tn ygrp ,lfny, ),ttp)
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               f)v/5 lrnN rV nr)l'rlil rnt)5n, ylltnn ntn ,Dv/N)n n1!n tlu FlutNn rnl nllltt, )t' ''l)                   20
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               ,htnt DtJ:rvp
                             r: n)Irn flttltr hllh nbrll' rtltu' 5u illrf,Yr nllil)n nvf)yn nll)rtm llty                28
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               ol"llbn lDNh rul\r nbN ntrfyt nr)uttr ,11}Jn trlrv !y nDnf, Jllyhl orlutthn
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               npJrln 15yr tlJ'tl) trllllllr) lNlln UIV/Dn ntl .Ft)nlh lgNtJ )V)ly ]y' ro)ytnlnl                        30
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                             nD)l), !'pen nl"lrfyr )t1n !l3i?, ll))) nnHl 1llNf, nPr9ln "'u
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                             ,tltl:llpn lsolo torl ,nlmb lhllur btutyhl ot,'N)h tu'' ln}]ltyta                          35

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                rN vpr51ltprllyp n:lll nlPN                                                                                     l9
                l,)]]NNtfnntrrnNnv'Pf)tl,n'n)y}Ev,H)n.lnl$onN]nhl|,v,)ilrblntrnutttylt9                                         20
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                 ,5rp!lD rJtD tlfl n)?u, 'ltlvti?tt ,l'                                                                             23
                 lllnNilhuybnl'br}'NltJ}311|51)u,lllnrtn1rp1)1r$.$},pt/N)flltntri.lllny/JlnlNs                                      24
                 0lrNnllllnrtpDlpnlDN$l'7'u0t66lu'1v'nllD',)NtU'/nla)yytrtonnNlP)utlnrul,
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                 o)'ll1t el") nilPs thnln nlt l5'nn1 rrll
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                 :,ft p1'r bxln )1n lnttS tlN NyE nt !'tll$t 'ltfll'rlt                                   ttrv'u ixv,, lyvg)l       27
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                 )) yrllil nlrrr! lnnlD .lt nv/! butNlnl lFrn'hx                                                                    3l
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                 iliNmlfvn,Iu'nill'li?gtlltltrlllPtntnivletl:lllNnhnlllllby|tDlhtn)I'Fnu)                                           33
                 trYrNln,lllDl'1t))nltnlllttgilgltlnNnnuPrbilJl',)l{,,19)4!lllllgnnNHr:nn)ltntt}
                             ,lyytl r) v/unD f,1t9 ll1nNn
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                 ,yu1li1tq9l)1.[,vjlnplnnlnNtv/}!v}i.l1l3}Fl,n)lt):nllbnntl$.|tlp')'yuE|)utllul'}l
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                nrueS Nlu]rurnn lr                    bllnn ylt)lril llnnbiltyp yg]}rn ltenn 13 IINJD,n)N rlltrvD                      l8
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               N) llrfiu, bl)n u)ru (5, v,t!n 1wb7w Ntn rtt'hn.t rxrn )! loHh n)v, f3l urlv,r                                I     24
               ypg lN llral,a) tt1r3y yJtt ,l,tfpD   nllE n'trll illrr)yy, n1!t! bv,Ntn
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               DU'Nrit l]fy, N, tlllnu bltn or)u 5 lgtosur t{lit rNtnill rNln )y 1DND ?VJttn 18                             ,t    2?
               5u Tlvr nf t/ru nt)$, )) lN ntntb rnrf, ntlnNnil: RUu,n nlltrn il)r))yu, ntr:y                                     28
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